     Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 1 of 60 Page ID #:11



 1    Nicky Jatana (SBN 197682)
       atanan@jacksonlewis.com
2     Marie Rosolio SBN 281068)
      Marie.rosolion 'acksonlewis.com
3     JACKSON LE S P.C.
      725 South Figueroa Street, Suite 2500
 4    Los Angeles, California 90017-5408
      Tel: (213) 689-0404
 5    Fax: (213) 689-0430
 6    Attorneys for Defendants
      ANHEUSER-BUSCH INBEV
 7    WORLDWIDE, INC.,
      ANHEUSER-BUSCH, LLC, and
 8    ABANEITA ESOIMEME

 9
                               UNITED STATES DISTRICT COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA
11
12
      CHRISTINA DEL RIO,                         Case No. 2:16-cv-7786
13
                         Plaintiff,
14                                               DECLARATION OF NICKY JATANA
             vs.                                 IN SUPPORT OF NOTICE OF
15                                               REMOVAL OF ACTION TO THE
      ANHEUSER-BUSCH INBEV                       UNITED STATES DISTRICT COURT
16    WORLDWIDE, INC., ANHEUSER-                 FOR THE CENTRAL DISTRICT OF
      BUSCH, LLC; ANHEUSER-BUSCH                 CALIFORNIA
17    COMPANY, ABANEITA ESOIMEME,
      and DOES 1 to 100, inclusive,
18                                               [Filed concurrently with Notice of
                         Defendants.             Removal; Declarations of Margaret Drust,
19                                               and Thomas Larson; Civil Cover Sheet;
                                                 Notice of Interested Parties; and Notice of
20                                               No Related Cases]

21
22                                               Complaint Filed:     September 9. 2016
                                                 Trial Date:          None
23
24
       ///
25
26
27
28
       CASE NO.:                                1            DECLARATION OF NICKY JATANA
       DEL RIO v. ANHEUSER-BUSCH INBEV.
       WORLDWIDE ET AL.
     Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 2 of 60 Page ID #:12



 1                             DECLARATION OF NICKY JATANA
 2           1.     I am an attorney admitted to practice before all courts of the State of
3      California and before this Court. I am a Principal with the law firm Jackson Lewis P.C.,
 4     counsel of record for Defendants ANHEUSER-BUSCH INBEV WORLDWIDE INC.
 5     and ANHEUSER-BUSCH, LLC (collectively referred to herein as "Defendants"). I
 6     make the following declaration based on personal knowledge, unless otherwise stated,
 7     and on my review of and familiarity with Defendants' files and documents in the above-
 8     captioned matter. If called as a witness, I could and would competently testify to the
9      facts contained herein. I submit this declaration in support of Defendants' Notice of
10     Removal to the United States District Court for the Central District of California in the
11     matter filed by Plaintiff Kristina Del Rio, erroneously named in the Complaint as
12     CHRISTINA DEL RIO ("Plaintiff').
13           2.     On September 9, 2016, Plaintiff filed a California Superior Court civil
14     complaint entitled Christina Del Rio v. Anheuser-Busch InBev Worldwide, Inc., et al, in
15     Los Angeles County, Case No. BC633541.
16           3.     On September 19, 2016, Plaintiff personally served a copy of the Summons
17     and Complaint on the agent of service of process for Defendants. Attached hereto as
18     Exhibit "A" are true and correct copies of Plaintiffs Summons, Complaint, and Civil
19     Case Cover Sheet, filed in state court.
20           4.     On October 19, 2016, Defendants timely filed its Answer to Plaintiff's
21     Complaint. Attached hereto as Exhibit "B" is a true and correct copy of Defendants'
22     Answer to Plaintiffs Complaint, filed in state court.
23           5.     To the best of my knowledge and based on information and belief, Exhibits
24     "A" and "B" constitute all the pleadings in the state court action to date.
25           6.     Prior to the filing of Defendants' Notice of Removal, I caused a search to be
26     conducted for Defendants Anheuser-Busch InBev Worldwide, Inc. and Anheuser-Busch,
27     LLC, on the California Business Portal website (http://kepler.sos.ca.gov/), to determine
28
        CASE NO.:                                    2            DECLARATION OF NICKY JATANA
        DEL RIO v. ANHEUSER-BUSCH INBEV.
        WORLDWIDE ET AL.
     Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 3 of 60 Page ID #:13



 1    the Defendants' status and states of incorporation. Attached hereto as Exhibit "C" are
 2    true and correct copies of the printouts setting forth Defendants Anheuser-Busch InBev
3      Worldwide, Inc.'s and Anheuser-Busch, LLC's corporate information.
 4              7.       I am lead counsel for Defendants in this case and have represented
 5     employers in employment litigation matters for more than 17 years in California and am
 6     familiar with fees requested by plaintiffs counsel in similar actions filed in state and
 7     federal court. Based on Kevin Boyle's years of experience' and Plaintiff's allegations, it
 8     would not be unreasonable to expect that Mr. Boyle will request fees in excess of
9     $75,000 through trial should Plaintiff prevail on her claims for which attorney's fees are
10     recoverable.
11              I declare under penalty of perjury, under the laws of the state of California and the
12    United States, that the foregoing is true and correct.
13              Executed this M4lh day of October, 2016, at Los Angeles, California.
14
15
                                                       NIC,
       4849-6891-4235, v. 1
16
17
18
19
20
21
22
23
24
25
26
27     I Plaintiff's attorney Kevin C. Boyle was admitted to the practice of law in California on December 1, 1997 based
       on information publicly available on the California State Bar's website:
28     http://members.calbar.ca.gov/fal/Member/Detail/190533.

        CASE NO.:                                               3               DECLARATION OF NICKY JATANA
        DEL RIO v. ANHEUSER-BUSCH INBEV.
        WORLDWIDE ET AL.
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 4 of 60 Page ID #:14




                         EXHIBIT A
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 5 of 60 Page ID #:15




                                                                                                                                                         SUM-100
                                             SUMMONS                                                                       FOR COURT USE ONLY
                                                                                                                       (SOLO PARA USO DE LA CORTE)
                     (CITAC1ON JUDICIAL)
   NOTICE TO DEFENDANT:                                                                                              COM- UrttotO COPY
                                                                                                                       ORIGINAL FILED
  (AV/SO AL DEMANDADO):                                                                                             Superior Court of California
                                                                                                                      County of Los Anneles
  Anheuser-Busch =NI v toct LukrYIE ,LIN ' .taki-}FuSf.2
                 F404.0 P
                          3kcC•14- Ccol e     ?IRAN-Err-A                                                                    Sr.P          `1U16
                                      di-i     tivel-uSiti,"
  YOU ARE BEING SUED BY                     LAINTIFF:
                                                                                                               herr' H.                            .ifrice/Cierk
  (LO ESTA DEMANDANDO EL DEMANDANTE):

                                                                             \,` 1                                                      s , Deputy
   Christina Del Rio                                                                                          By:         .
                                                                                                                       ishayla Chambers
                                                                                  0-63
    NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
    below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
   Online Self-Help Center (wwwcourtinfo.ca.gov/sellhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
    the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken'without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do notknow an attorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locale
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), theCallfornia Courts Online Self-Help Center
   (www.courtinfo.ca.goviselThelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
   AVIS01 Lo han demanded°. Si no responde dentrto de 30 dlas, la code puede decidir en su contra sin escuchar su version. Lea la information a
  continuation.
      77ene 30 DIAS DE CALENDARIO despuos de que le entreguen este citation y papeles legalespara presenter una respuesta per escrito en este
   carte y tracer que se entregue una copra al demandante. Una carte o una Ilameda telefonica no to protegen. Su respuesta par escrito fiene que estar
  en formate legal correcto si desea que procesen su caso en la code. Es posible que hays un fonnulario que usted puede user pare su respuesta.
  Puede encontrar estos formularies de la corte y rods Information en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de !eyes de su condado o en la code que le quede ales cerca. Si no puede pager la cuota de presentation, pida al secretano de la code
  qua ie de tin formulado de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incumplimiento y la code le
  padre guitar su sueldo, dinero y blenes sin mas advertencla.
     Hay otros requisite's legates. Es recomendable que /lame a un abogado inmediatamente. SI naeonoce a un abogado, puede Ilamar a un servicio de
  remisidn a abogados. Si no puede pager a uri abogado, es posible que cumpla con los requisites pars obtener servicios legates graturtos de un
  programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services,
  (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
  coleglo de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costes exentos par imponer un gravamen sabre
  cualquier recuperacion de $10.000 o alas de valor recibida mediante un acuerdo o una concesionde arbitraje en un caso de-derecho civil. Tiene que
  pager et gravamen de la carte antes de que la corte pueda desechar el caso.
 The name and address of the court is:                                                                     CASE NUMBER:
                                                                                                           (Wow° Oaf Can):
                                 LOS ANGELES SUPERIOR COURT
 (El nombre y direction de la corte es):
  111 North Hill Street, Los Angeles, CA. 90012
                                                                                                                      73C, 6 3 3 4
 The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
 (El nombre, la direccidn y el nOmero de telefono del abogado del demandante, o del demandante que no Ilene abogado, es):
  Kevin C. Boyle, Esq. 24097 Ventura Blvd., Suite 260, Calabasas, CA. 90302
                                      app                          aTER
                                                                GA
 DATE:                                           SliatRI K.                     Clerk, by                                                               , Deputy
 (Fecha)                       4%eS                                                                                  I,‘     bia5rtb°S
                                                                                                                                                         (Adjunto)
                                                                                (Secretario)
 (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
 (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                       NOTICE TO THE PERSON SERVED: You are served
  (SEAL]
                                       1. nas an individual defendant.
                                       2.1-1  as the person sued under the fictitious name of (specify):

                                                      Plm-itteee - (isc-44/ Luc-
                                            1\,4-on behalf of (specify):
                                             under'           CCP 416.10 (corporation)                              CCP 416.60 (minor)
                                                      I   I    CCP 416.20 (defunct corporation)                     CCP 416.70 (conservatee)
                                                              CCP 416.40 (assobiation or partnership)      FT       CCP 416.90 (authorized person)
                                                      T7 other (specify):
                                                   by personal delivery on (date):   9 \I                                                                  Pane 1 of 1
  Farm Adopted far Mandatory Use                                          SUMMONS                                               Coda of Civil Procedure §§ 412.20, 465 •
    Judidal Council of California                                                                                                                 www.courtinfo.ca.gav
    SUM-100 (Rev. July 1, 20091
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 6 of 60 Page ID #:16




                                                                                                                                                            SUM-100
                                             SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                          (SOLO PARA USO DE LA CORTE)
                                     (C1TACION JUDICIAL)
  NOTICE TO DEFENDANT:                                                                                               CONI-Qi-tiVUtO COPY
                                                                                                                       ORIGINAL FILED
  (AVISO AL DEMANDADO):                                                                                             Superior Court of California
                                                                                                                         County of Los Anneles
   Anheuser-Busch '=',F•IgEv tuctiOtAMI                             '            USER_
   1 -•-afett.±-1.
              . t-\t\hrif
       Of eaffr)-t:i.                                                                                                            SEP 0 !z. 2016
                            1 .dt-i IQ) tNcw,five
  YOU ARE BEINu SUEDBY PLAINTI :
                                                                                                             Sherri                                        ice/Uierk
  (LO ESTA DEMANDANDO EL. DEMANDANTE):
                                                                                                              By:                                          , Deputy
   Christina Del Rio
                                                                                                                          Ishayla Chambers

    NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
    below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to files written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be In proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms and more Information at the California Courts
    Online Self-Help Center (www.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you ccnnol pay the filing fee, ask
    the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court. •
       There are other legal requirements. You may want to call an attorney right away. If you do notknow an attorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomiaorg), the California Courts Online Self-Help Center
   (www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien musl be paid before the court will dismiss the case.
  'AVIS° f Lo han demandado. Si no responds denim de 30 dies, la code puede decidir en su contra .sin escuchar su version. Lea la information a
  continuacidn.
      Tiene 30 DiAS DE CALENDARIO desiiiies de que le entreguen esta citation y papeles legates pare presenter una respuesta por escrito en esta
  corte y hater que se entregue una copia al demandante. Una carte o una Ilamada telefdnica no loorotegen. Su respuesta por escrito (lane que estar
  en format° legal correcto si desea que procesen su caso en la corte. Es posible que hays un fomulario que usted puede user pare su respuesta.
  Puede encontrar estos formulerios de la code y mss informaciOn en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en /a
  biblioteca de leyes de su condado o en la corte que le quede mss cerca. Si no puede pager Ia cuota de presentation, pida al secreted° de /a code
  que le de un lormulario de exenciOn de pago de cuotas. Si no presents su respuesta a tiempo, puede perder el caso por incumplimiento y la code le
  podra guitar su sueldo, dinero y bienes sin mas advertencia.
     Hay afros requisitos legates. Es recomendable que llama a un abogado inmedlatamente. SI no conoce a un abogado, puede flamer a un servicio de
  remfsian a abogados. Si no puede pagan a un abogado, es posible que cumpla con los requisitos pare obtener servicios legates gretuitos de un
  programs de servicios legates sin fines de Nor°. Puede encontrar estos grupos sin fines de lucroen el sitio web de California Legal Services,
  (www.lawhelpcafifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
  colegio de abogados locales. AV/SO, Por ley, la corte Ilene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
  cualquier recuperation de $10,000 6 mas de valor recibida mediante un acuerdo o una concesidn de arbitrate en un caso de derecho civil. Tiene que
  pager el gravamen de Ia code antes de que la corte puede desechar el caso.
 The name and address of the court is:                                                                     CASE NUMBER:
                                                                                                           (Neiman) del Cass):
                                 LOS ANGELES SUPERIOR COURT
 (El nombre y direcciOn de la corte es):
  111 North Hill Street, Los Angeles, CA. 90012                                                                                      , 4,1          A
                                                                                                                        BC                6 3 1÷'
 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
 (El nombre, la direcciOn y el numero de telefono del abogado del demandante, o del dernandante qua no tens abogado, es):
  Kevin C. Boyle, Esq. 240Q7 Ventura Blvd., Suite 260, Calabasas, CA. 90302

 DATE:                                          SHERD        CA51"                                                                                         , Deputy
                                                                                Clerk, by
 (Fecha)                       09                                               (Secretario)                 eime,43 ChStObeYS                              (Adjunto)
 (For proof of service of this summons, use Proof of Service of Summons (form POS-010).) t
 (Para prueba de entrega de este citation use el formulario Proof of Service of Summons, (POS-010)).
                                       NOTICE TO THE PERSON SERVED: You are served
  ISEALI
                                      1.I-1as an individual defendant.
                                      2. [        as the person sued under the fictitious name of (specify):

                                            At\MICLIka '- Pott                   SC4      4r1K) 134) &C P                           141.12e
                                      3 Nion behalf of (specify):

                                          under:   I ^1l CCP 416.10 (corporation)                                     CCP 416.60 (minor)
                                                   r-7 CCP 416.20 (defunct corporation)                     CJ        CCP 416.70 (conservatee)
                                                   niCCP 416.40 (association or partnership)                          CCP 416.90 (authorized person)

                                            E-1 other (specify):
                                          "by personal delivery on (date):
                                      4. 11
  Form Adopted for Mandatory Use
                                                                                            Lell LP                                                           Page 1 of 1

    Judicial Council of California
                                                                        SUMMONS                                                     Code of Cisil Procedure §§ 412,20, 465
                                                                                                                                                      wiuNcourlinfaca.gov
    SUM-100 [Rev. July 1, 20091

                                                                                2
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 7 of 60 Page ID #:17




                                                                                CONI-UttMLLY COPY
         1   Kevin C. Boyle, Esq. (SBN 190533)                                    ORIGINAL FILED
             LAW OFFICES OF KEVIN C. BOYLE                                     Superior Court of California
         2   5000 N. Parkway Calabasas, Suite 203                                Count,/ of 1_^o Anoeles
             Calabasas, CA 91302
         3                                                                           SEP C}     2016
             Telephone:      (818) 591-1755                                shel l K.?              IJIIICeiGlert,
         4   Facsimile:      (818) 591-1756
                                                                            by:                          Deputy
         5   Attorney for Plaintiff,                                               IshaVa Chambers
             Christina Del Rio
         6

         7                    SUPERIOR COURT FOR THE STATE OF CALIFORNIA
         8                                     COUNTY OF LOS ANGELES
         9

        10   CHRISTINA DEL RIO,                                   CASE NO.:          BC 6 3 3 5 A. 1
        11                        Plaintiff;                      COMPLA:NT FOR DAMAGES

        12           v.                                           1. DISABILITY DISCRIMINATION
        13   ANHEUSER- BUSCH INBEV
             WORLDWIDE, INC.;ANHEUSER-                           2. FAILURE TO PROVIDE
       14    BUSCH, LLC; ANHEUSER-BUSCH                             REASONABLE ACCOMMODATION
             COMPANY, ABANEITA ESOIMEME,                            [Gov't Code §12940(m)]
       15    and DOES 1 through 100 inclusive
                                                                 3. FAILURE TO EN 3AGE IN THE
       16
                                                                     INTERACTIVE PROCESS [Gov't Code
       17                        Defendants.                        §12940(i)]

       18                                                        4. RETALIATION
       19
                                                                 5. HARASSMENT P 'USED ON
       20                                                        DISABILITY [Government Code sr12940(i)]

       21

       22
                                                GENERAL ALLEGATIONS
       23
                    1.      Plaintiff is informed and believes and thereon alleges that defendant,
       24
             ANHEUSER- BUSCH INBEV WORLDWIDE, INC.; ANHEuSER-BUSCH, LLC;
       25
             ANHEUSER-BUSCH COMPANYand DOES 1 through 100 inclusive (Collectively referred
       26
             herein as AnNHUESER-BUSCH) is a business entity was, at all time herein mentioned, a
       27
             business entity, as a matter of commercial actuality, in purposeful econon,lc activity, operating
       28


                                                             1
                                                                                     COrPLAINT FOR DAMAGES
                                                      3
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 8 of 60 Page ID #:18




           1   within the County of Los Angeles, State of California and operating under the laws of the state
          2    of California. Defendant ABANEITA ESOIMEME, was in individual working in a supervisory
          3    position for defendants and thereby had and excersized direct control over plaintiffs acitivities
           4   while at work and ESOIMEME for all relevant times mentioned herein was, and still is, a
                    ant-e#the-state-of-Galifernia.
          6            2.      The true names or capacities, whether individual, corporate, associate or
          7 otherwise, of defendants DOES 1 through 100, inclusive, are unknown to plaintiff and therefore
          8 plaintiff sues these defendants by such fictitious names. Plaintiff will amvid this complaint to

          9    allege their true names and capacities when ascertained. Plaintiff is informed and believes and
         10    based thereon alleges that each of these fictitiously named defendants is ruiponsible in some
         11    manner for the occurrences herein alleged, and that plaintiffs damages as Lerein alleged were
         12    proximately caused by their conduct.
         13            3.      Plaintiff is informed and believes and thereon alleges that, at all times mentioned,
         14    each of the defendants, including the fictitiously named defendants, was the agent and employee
         15    of each of the remaining defendants, and in doing the things hereinafter alleged, was acting
         16    within the scope and course of such agency.
         17            4.      Plaintiff began her employment with ANHEUSER- BUSCH in or about 2004
         18 working on the bottling line at defendant's facility located in Van Nuys California. Plaintiff
         19 worked in that capacity for over 10 years when she was transferred to an inspections position
         20 Where she would inspect the product for defects before it was shipped out.
         21            5.     For the duration of plaintiffs employment, she had a signif:;ant period of wholly

         22    satisfactory, competent and diligent performance to the benefit of ANHEUSER- BUSCH and
         23    DOES 1 through 100 and each of them.
         24           6.      For most of plaintiff's adult life she has suffered from Asth-ta, which was a

         25    debilitating condition that hinders her ability to breath appropriately. Such condition is made
         26 worse at points when plaintiff experiences a significant amount of stress ar anxiety. In or
         27 about 2012, plaintiff experienced a change in management that forced plairliff s position
         28    change off the bottling lie and into an inspection position.




                                                       4
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 9 of 60 Page ID #:19




             1           7.      Plaintiff experienced an inordinate amount of stress as a result and plaintiff was

             2   treated for stress anxiety and depression. Plaintiffs Asthma also began to become worse and
             3   plaintiff was certified for intermittent FMLA, which provided that plaintiff's job would remain
             4   open for 12 weeks during the year while she had to treat for her own serious medical condition.

             5            plaintiff had an.Asthma.attack.in themoming_and.foundihat she_wnq imahle to_getto_
             6 work until the condition subsided or became under control. In such instanr?es, plaintiff would
             7 call the guard shack who would make management aware that she would be late and the hours.
             8   were "coded" as FMLA. Although over time plaintiff's condition was ge- ing worse, she tried
             9 to miss as little work as possible. Matters were made worse as Plaintiff e1- 7erienced harassment
         10      from her direct supervisor ABANEITA ESOIMEME who would make co :,unents and retaliate

         11      against plaintiff for taking her FMLA time. Ultimately, ESOIMEME rem3ved Plaintiff from the
         12      position on the line that she held for years.
         13              8.      In or about the January of 2016, plaintiff got very sick and experienced an upset

         14 stomach where she would throw up and suffer from nausea on r daily basis. This also made her

         15      asthma worse. Plaintiff treated with her doctor. At the first few visits the doctor did not

         16      understand why plaintiff was suffering from the condition of continued and frequent nausea In

         17 February of 2016, Plaintiff had a very difficult bought with her stomach upset. Moreover,
         18 ESOIMEME continued to make plaintiff feel uncomfortable every time she needed
         19 accommodation for her disabilities. ESOIMEME would talk down to plaiatiff and Plaintiff was
         .
         20 treated in manner that other non-disable employees were treated. ESOIMEME did not want to
         21      help Plaintiff with any of the difficulties she was experiencing and refused be understanding

         22      in anyway. Plaintiff believed her system was off because of the stress at wrk, which cause

         23      ansiety and depression, and because of the medications she took for her asfrima. That

         24      notwithstanding, Plaintiff continued to treat with her physician who was working to diagnose

         25      and treat plaintiffs disabilities. As a result, Plaintiff had to take several drys off in February.

         26              9.      Plaintiff treated with her medical doctor at Facey Medical Group and provided

         27      notes dated January 23, 2016, February 4, 2016, February 8, 2016 and February 25, 2016

         28 pertaining to the medical leave that she took because of her disabling medical condition. In


                                                                   3
                                                                                           PAPUIPT A   TNT   GVID 114   Ti A rye

                                                           5
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 10 of 60 Page ID #:20




           1    February management had a meeting with plaintiff in which she advised cf the conditions that
           2 she was dealing with and advised that she needed to continue treating with her doctor. In

           3    March plaintiffs vacation week came up and she was out for vacation. This had been
           4 designated as her week for vacation since the previous year in November. When plaintiff
          5 -returned-on-or about March 15, 20167 defendant fired-plaintiff-stated that she ha-d-misbe-d too
          6     much work and violated their attendance policy when they were well aware of her disability and
          7 knew that she was entitled to medical leave as a reasonable accommodation for her disabling
          8     conditions. In fact, when she was terminated plaintiff advised management that she was still
          9 sick and that she had another doctor's appointment as she was trying to ge. better and just
         10    needed some time to do so. Moreover, plaintiff had several weeks of vacation to use.
         11    Defendant did not want to help plaintiff with her disability and terminated aer employment so
         12    they didn't have to do so. Plaintiff learned two days after she was terminated that she was
         13    pregnant and had been suffering severe nausea. That, coupled with the str ss, anxiety and
         14    depression and her Asthma, plaintiff needed medical leave to treat with he.' doctor to get better.
         15 Defendant terminated plaintiff's employment and took a negative employrent action because of
         16 her disability. Moreover, they retaliated against plaintiff as she sought reasonable
         17    accommodation to deal with her disability and continue working.
         18            10.      The actions and continuing course of the aforesaid discriminatory, harassing and
         19 retaliatory conduct has amounted to a systematic policy of discrimination thereby constituting a
         20    continuing violation actionable under the California Fair Employment and Housing Act(FEHA),
         21 Government Code §§12900-12996.
         22
         23                                          FIRST CAUSE 01? ACTION

         24                                           AGAINST DEFENDANTS
         25                            AND DOES 1 THROUGH 100 AND EACH OF 7HEM
         26                                      (DISABILITY DISCRIMINATION)
         27            11.     Plaintiff incorporates the allegations set forth in paragraphs ^ through 10 as if set
         28    forth in full herein.


                                                                 4

                                                         6
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 11 of 60 Page ID #:21




           1            12.     At all times herein mentioned Government Code §§12940 et seq. were in full
           2    force and effect and were binding on ANHEUSER- BUSCH; and DOES 1 through 100 and each
           3    of them. These sections require defendants to refrain from discriminating against a disabled
           4   employee who is fully qualified and able to perform the functions of an employment position.
           5            13.     Plaintiff, a disabled individual,. was qualified to perform the duties of an
           6   employment position with ANHEUSER- BUSCH with or without reasonable accommodation
           7 • and was subjected to a continuing adverse employment action by ANHEUSER- BUSCH
           8   because of her disabling condition. Said acts and conduct of ANHEUSER- BUSCH, as have
           9   been more fully set forth above, have been on the basis of plaintiffs disability, or on account of
          10   the fact that plaintiff is being regarded as disabled, or on account of the     that plaintiff has a
          11   record of a disability. Said conduct thus constitutes continuing violations cf Government Code
         12 §12940 et seq.
         13            14.     The unlawful employment practices on the part of defendants ANHEUSER-
         14    BUSCH and each of them, have been a substantial factor in causing damages and injuries to
         15 plaintiff as set forth below.
         16            15.     Plaintiff filed an administrative charge with the California Department of Fair
         17    Employment and Housing (DFEH) pursuant to Section 12960 of the Government Code on or
         18    about September 7, 2016, substantially alleging the acts and conduct as he -ein above described.
         19 DFEH issued a "Right to Sue" notice on or about September 7, 2016. (True and correct copies
         20    of same are attached hereto as Exhibits "1" and '1 2" respectively).
         21            16.     As a result of.the aforesaid unlawful acts of said defendant and each of them,
         22    plaintiff has lost income and benefits in an amount to be proven at time of         Plaintiff claims

         23    such amount as damages together with prejudgment interest pursuant to evil Code Section
         24    3287 and/or any other provision of law providing for prejudgment interest.,

         25            17.     As a result of the aforesaid unlawful acts of said defendants and each of them,

         26 plaintiff was personally humiliated and has become mentally upset, distressed and aggravated.
         27    Plaintiff claims general damages for such mental distress and aggravation in an amount to be

         28    proven at time of trial.


                                                                 5
                                                                                         COMPLAINT FOR DAMAGES
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 12 of 60 Page ID #:22




                       18.      As a further result of the said acts of said defendants and cach of them, plaintiff
           2 was required and has incurred incidental expenses which will he shown a-,cording to proof.
           3           19.      The acts of defendants ANHEUSER- BUSCH and each of them, as hereinabove
           4   alleged, were carried out by supervisors, managers, officers, and/or directors of ANHEUSER-
           5   BUSCH, and were directed and/or ratified by. ANHESAR- BUSCH am, each of them.
           6
           7                                    SECOND CAUSE OF ACTION
           8                            AGAINST DEFENDANTS ANBEUSER- BUSC:I
           9                           AND DOES 1 THROUGH 100 AND EACH OF TIIZM
          10                 [FAILURE TO PROVIDE REASONABLE ACCOMMO:)ATION -
         11                                          Gov't Code §12940(m)]
         12            20.     Plaintiff incorporates the allegations set forth in paragraph 1 through 19 as if set
         13    forth in full herein.
         14            21.     During the period of plaintiffs employment with ANIIEU:. ER- BUSCH,
         15    Government Code §12926.1(a),(e) and §12940(m), were in full, force and Tilect and were
         16    binding on said defendants. These subsections impose a continuing mand tory duty upon
         17 employers to make reasonable accommodations for the known physical or. mental disabilities of
         18 an employee so as to allow a disabled employee to continue or resume we king. "Reasonable
         19 accommodations" may, but do not necessarily include, making existing facilities readily
         20    accessible to and usable by the disabled employee, job restructuring (i.e. schedules and
         21    responsibilities), reassignment to a vacant position, part-time or modified:work schedules,
         22 modification of equipment and training policies, as well as extended medir!,a1 leave. Hanson v.
         23    Lucky Stores, Inc, (1999) 74 Cal.App.4th 215, Nufiez v. Wal-Mart Stores. Inc. (9th Cir. 1999)
         24    164 F.3d 1245, [Gov't Code §12926(n); 2 Cal. Code Regs., §7293.9(a)J;
         25           22.      As alleged above, ANHEUSER- BUSCH has violated thec, subsections by
         26 -failing to provide a reasonable accommodation for plaintiff.
         27
         28
                                                                                            d

                                                                6
                                                                                        COMPLAINT FOR DAMAGES
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 13 of 60 Page ID #:23




                       23.     The unlawful employment practices on the part of defendants, ANHEUSER-
          2   BUSCH and each of them, were a substantial factor in causing those damages and injuries to
          3 plaintiff as set forth by reallegation of paragraphs 16 through 19 (in paragraph 20).
          4
          5
          6
          7                                      THIRD CAUSE OF ACTION
          8                      AGAINST DEFENDANTS ANHEUSER- T;USCH, C;
          9                           AND DOES 1 THROUGH 40 AND EACI OF TW,M
         10     [FAILURE TO ENGAGE IN THE INTERACTIVE FRC :T.ESS G -.'t Code §12940(n)J
         11           24.     Plaintiff incorporates the allegations set forth in paragraph,' 1 through 23, as if set
         12   forth in full herein.
         13           25.     During the period of plaintiffs employment with ANHEUSER- BUSCH,
         14   Government Code §12926.1(a),(e) and §12940(n), were in full force and effect and were
         15   binding on said defendant. These subsections impose a continuing mandatory duty upon
         16   employers to engage in a timely, good faith, interactive process to determine effective
         17   reasonable accommodations for an employee who has a known disability.
         18           26.     As alleged above, ANHEUSER- BUSCH violated these subsections by failing to
         19   engage in the interactive process in order to determine areasonable accommodation for plaintiff.
         20           27.     The unlawful employment practices on the part of defenders ANHEUSER-
         21   BUSCH and each of them, were a substantial factor in causing Lose dams-`es and injuries to
         22   plaintiff as set forth by reallegation of paragraphs 16 through 1.!'*(in parap: oh 24).
         23                                                                                 o.

         24                                    FOURTH CAUSE OF ACTION
         25                           AGAINST DEFENDANTS ANHEUSEr BUSCE
         26                       AND DOES 1 THROUGH 100 AND EAC:i OF TH7,.;INI
         27                                            [RETALIATION]
         28          28.     Plaintiff incorporates the allegations set forth in paragraphs 1 through 27, as if set


                                                                7
                                                                                              >r   TNT' 'CAD TA AR A rn.


                                                        9
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 14 of 60 Page ID #:24




           1    forth in full herein,
           2            29.     Plaintiff is informed and believes and again alleges' that dependants DOES 1
           3   through 100 and each of them, were supervisors, managing agents and em2loyees of
           4 ANHEUSER- BUSCH, Plaintiff further alleges that defendants and DOE:.-' 1 through 100 and

           5 _eacji_of them, werein the chain of command over plaintiff and had sufficient actual or
           6 reasonably perceived power or control or direction in plaintiffsrwork environment so as to

           7 significantlyaffect plaintiffs employment status.
           8           30.      At all times herein mentioned Government Code §12940(b; was in full force and

           9 effect and was binding on ANHEUSER- BUSCH, and DOES 1 through 100 who were
          10   employed by ANHEUSER- BUSCH, These sections require defendants A FUSER- BUSCH,
          11 and DOES 1 through 100, and each of them, to refrain from retaliating against an employee for
         12    having engaged in an activity that is protected under the FEHA.
         13            31.      At all times herein mentioned, California Code of                  tit.2 §7297.7
         14    [Retaliation], the implementing regulation for Government Code §12945.2 was in full force and
         15    effect and was binding on defendants, and each of them. This regulation, if addition to the
         16 retaliation prohibited by Government Code §12940(f)[now §12940(h)] an' 2 Cal.Code Regs
         17    §7287.8, prohibits any person from terminating or otherwise discriminatir f, against an
         18 individual because that individual has exercised his or ber rights.
         19            32.      Plaintiff alleges that the aforesaid acts and conduct of said .'flefendants toward

         20    plaintiff constituted significant, adverse employment actions which were in retaliation for, and
         21    were motivated by plaintiffs having engaged in the protected activities of r';xercising and

         22 asserting FEHA protected rights as a 'disabled" individual.
         23            33.     The retaliatory acts and conduct by said defendants toward )1aintiff were not

         24    normal business or personnel management decisions that were necessary t- the performance of
         25    the job duties of a supervisor and manager employed by ANHEUSER- BUSCH.
         26            34.     The aforesaid actions and conduct of ANHEUSER- BUSCT.- and DOES 1
         27 through 100 and each of them, thereby constituted Retaliation tcward plaintiff and were in
         28    violation of California Government Codes §12940(h) and §12345.2.
                                                                                              1

                                                                  8
                                                                                          COV7PLAINT FOR DAMAGES
                                                        10
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 15 of 60 Page ID #:25




           1           35.      As a direct and proximate result of the conduct of said defendants, as aforesaid,
           2   plaintiff has suffered those injuries and damages set forth by reallegation of paragraphs 16
           3   through 19 (in paragraph 28).
           4
           5
           6   ///
           7                                     FIFTH CAUSE OF ACTION
           8           AGAINST DEFENDANTS ANHEUSER-BUSCH, AZANEIT2 ESOIMEME
           9                           AND DOES 1 THROUGH 100 AND EACH OF TEri3M
          10                                             [HARASSMENT] •
          11           36.     Plaintiff incorporates the allegations set forth in paragraplr 1 through 35 as if set
          12   forth in full herein.
         13            37.     At all times herein mentioned, Government Code §§12940 ,Tt seq., were in full
         14 force and effect and were binding on ANHEUSER- BUSCH, ESOIMEME, and each of them.
         15    These sections require defendants, and each of them, to refrain from haraszing an employee on
         16    the basis of the employee's disability.
         17            38.     The aforesaid acts and conduct of , ANHEUSER- BUSCH, ESOIMEME and
         18    each of them, toward Plaintiff have been more fully set forth above. Said acts and conduct
         19 consisting of unwarranted criticism and reprimands, refusals to accommodate, heightened
         20 scrutiny, and overt hostility based on Plaintiff's disability; constituted an abuse of REMELB and
         21    MENDEZ's authority as supervisors and mangers; and were on the basis Or Plaintiffs disability.
         22    Thus, the continued hostility toward Plaintiff, even if RA1VELB and MELIDEZ were
         23    purportedly carrying out management personnel functions or official empl.:yment actions in
         24    furtherance of her managerial role, had the secondary effect of creating a I :)stile working

         25    environment. [Roby v. McKesson (2009) 47 Cal. 4'h 686, 707].
         26           39.      As a direct and proximate result of the conduct          Def ',dents, as aforesaid,

         27    Plaintiff has suffered those 'injuries and damages set forth by reallegation cf paragraphs 16

         28 through 19 (in paragraph 35).


                                                                9
                                                                                        C:01ViPLATNT FOR DANIA OF,S

                                                         11
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 16 of 60 Page ID #:26




          1
          2   WHEREFORE, plaintiff seeks judgment against defendants ANHEUSER- BUSCH,
                                                                                      .
          3   ESOIMEME and DOES 1 through 100 and each of theta, on all Causes of Action for:
          4           1.     All actual, consequential and incidental losses, including nut not limited to loss
          5   of income and benefits, according to proof, together with prejudgment in:,erest pursttant to
          6   Civil Code Section 3287 and/or 3288;
          7          2.      General damages for emotional distress and mental suffering in a sum according
          8   to proof.
          9          3.      Treble damages pursuant to Civil Code §3345.
         10          4.      Exemplary and punitive damages in a sum appropriate to p ish defendants and
         11   set an example for others;
         12          5.      Attorneys fees per Gov't Code §12965(b) and costs of suit.
         13          6.      Such other and further relief as the Court may deem proper.
         14
         15    Dated: September 7, 2016                    LAW OF ES OF KEVIN C. BOYLE

         16                                                                               7
                                                                                       oe--)
         17
                                                           KEVIN C. BOYLE
         18                                                Attorney for Plaintiff,
                                                           CHRISTINA DEL RIO
         19
         20
         21
         22
         23                                                                               Ji

         24
         25
         26
         27
         28


                                                             10
                                                                                     rnm-   rfkrT    rIATA me

                                                     12
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 17 of 60 Page ID #:27




       EXHIBIT 1

                                       13
       Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 18 of 60 Page ID #:28




                                          COMPLAINT OF EMPLOYMENT DISCRIMINATION
               2                                  BEFORE THE STATE OF CALIFORNIA
               3                      DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                                        Under the California Fair Employment and Housing Act
               4
                                                      (Gov. Code, § 12900 et seq.)
               5

               6
                   In the Matter of the Complaint of               .              DFEH No. 809253-249615
               7   Christina Del Rio, Complainant.
                   Ci0 Kevin Boyle, Esq. 24007 Ventura Blvd. Suite
               8   260
                   Calabasas, California 91302
               9
              10   vs.

              11   Anheuser-Busch Inbev Wordwide, Inc.,
                   Respondent.
              12
                   8250 Woodley Ave
              13   Van Nuys, California 91406

              14

              15   Complainant alleges:

              16   1. Respondent Anheuser-Busch Inbev Wordwide, Inc. is a subject to suit ender the CLiiiornia Fair
                   Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.). Complainant believes respondent is
              17   subject to the FEHA.
              18   2. On or around March 15, 2016, complainant alleges that respondent took the following advit.rse actions
                   against complainant: Discrimination, Harassment, Retaliation Denied a good faith interactive process,
              19
                   Denied a work environment free of discrimination and/or retaliation, Denied reasonable accommodation,
4                  Terminated, . Complainant believes respondent committed these actions because of their: Disability .
              20

              21   3. Complainant Christina Del Rio resides in the City of Calabasas, State of oaliforrZa. If compl int includes
                   co-respondents please see below.
              22




    H 002.1                                                            -5-
                                                        Complaint — DFEH No. 8092 3-249615
                    Date Filed: September 08, 2016
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 19 of 60 Page ID #:29




  1
      Co-Respondents:
  2    Anheuser-Busch, LLC

  3    8250 Woodley Ave
       Van Nuys California 91406

       Anheuser-Busch Company

       8250 Woodley Ave
 6     Van Nuys California 91406


 7     Abaneita Esiomeme
       8250 Woodley Ave
 8     Van Nuys California 91406

 9

 10

 11

 12

 13

.14

 15

 16

 17

 18

 19

 20

 21

 22




                                                       -6-
                                        Complaint — DFEH No. 809253-249615
       Date Filed: September 08, 2016




                                                       15
    Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 20 of 60 Page ID #:30




           1
           2   Additional Complaint Details:
           3
               Plaintiff suffered discrimination, harassment and retaliation because of her disability.
          4    Plaintiff needed and sought reasonable accommodation of time off work to treat with her
               doctors so she could get better and return to work. Instead defendant terminated her
               empfoyment-because of her disability: •        •
          6

          7

          8

          9

          10

          11

          12

          13
          14
          15

          16

          17
          18

          19

          20

          21

          22




H 902-1                                                       -7-
                                                omplaint — DFEH No. 8092 3-2 9615
               Date Filed: September 08, 2016




                                                              16
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 21 of 60 Page ID #:31




       VERIFICATION
  1
       I, Kevin C. Boyle, am the Attorney for Complainant in the above-entitled complaint. I have read the foregoing
  2    complaint and know the contents thereof. The same is true of my own knowledge, except as to those matters
       which are therein alleged on information and belief, and as to those matters, I believe it to be true.
  3
       On September 08, 2016, I declare under penalty of perjury under the laws of the State of ralifomia that the
  4
       foregoing is true and correct.
  5
                                                                                                    Calabasas, CA
  6                                                                                                 Kevin C. Boyle

  7

  8

  9

 10

 11

 12
 13

 14

 15

 16

 17

 18,

 19

 20

 21

 22




                                                          -8-
                                           Complaint — DFEN No. 809253-249615
       Date Filed: September Oa, 2016
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 22 of 60 Page ID #:32




                            EXHIBIT 2
                       •




                                           18
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 23 of 60 Page ID #:33




                GTATF CIF   rAilFnaica I aiAlnes   iimer SAM= anatInustari /wenn,             GE1E1112004108QDICItnall
                    DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                             DIRECTOR KEVIN KICK
                2218 Keusen Drive, Suite 100 I Elk Grove I CAI 95758
                800-884-1684 I TDD 800-700-2320
                www.drellea.gov 1 email: contacteenier@dteh.ca.gov




       September 08, 2016

       Christina Del Rio
       C/O Kevin Boyle, Esq. 24007 Ventura Blvd. Suite 260
       Calabasas, California 91302

       RE: Notice of Case Closure and Right to Sue
       DFEH Matter Number: 809253-249615
       Right to Sue: Del Rio / Anheuser-Busch Inbev Wardwide, Inc.


       Dear Christina Del Rio,

       This letter informs you that the above-referenced complaint was filed with the Department of Fair
       Employment and Housing (DFEH) has been closed effective September 08, 2016 because an immediate
       Right to Sue notice was requested. DFEH will take no further action on the complaint.

       This letter is also your Right to Sue notice. According to Government Code section 12965, subdivision
       (b), a civil action may be brought under the provisions of the Fair Employment and Housing Act against
       the person, employer, labor organization or employment agency named in the above-referenced
       complaint. The civil action must be filed within one year from the date of this letter,

       To obtain a federal Right to Sue notice, you must visit the U.S. Equal Employment Opporinnity
       Commission (EEOC) to file a complaint within 30 days of receipt of this DFEH Notice of ";ase Closure
       or within 300 days of the alleged discriminatory act, whichever is earlier.

       Sincerely,



       Department of Fair Employment and Housing




                                                                        19
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 24 of 60 Page ID #:34




               DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                     DIRECTOR KEVIN KISH
               2218 Kausen Drive. Suite 100 I Elk Grove I CA 195758
               800-81341684 I TOO 800-700.2320
               www.dieh.ca.gov I email: contatteenter©Elleh.ca.gov




       Enclosures

        cc: Anheuser-Busch, LLC

        Anheuser-Busch Company

        Abaneita Esiomeme




                                                                      20
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 25 of 60 Page ID #:35




                  ft.TAIF OF CALWORNIA.I Ihmlriess t .umer Semis antUdnstliZt_

                  DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                          DIRt:CTOR KEVIN KISH
                  2218 Kausen Olive, Suite 100 I Elk Grove I CA I 95758
                  800-884-1684 I TD0 800-700-2320
                  www.clteh.ca.gov I email: contact.center@dfeh.cagov




  ------YepteiriFel 08, 2016
         Kevin Boyle
         24007 'Ventura Blvd. Suite 260
         f2a.l.abases California 91302



         RE: Notice to Complainant or Complainant's Attorney
         DFEH Matter Number: 809253-249615
         Right to Sue: Del Rio / Anheuser-Busch Inbev Wordwide, Inc.

         Dear Complainant or Complainant's Attorney:

         Attached is a copy of your complaint of discrimination filed with the Department o Fair
         Employment and Housing (DFEH) pursuant to the California Fair Employment ancl Housing
         Act, Government Code section 12900 et seq. Also attached is a copy of your Notice of Case
         Closure andRight to Sue. Pursuant to Government Code section 12962, DFEH will not serve
         these documents on the employer. You or your attorney must serve the complaint. If you do not
         have an attorney, you must serve the complaint yourself. Please refer to the attached Notice of
         Case Closure and Right to Sue for information regarding filing a private lawsuit in qie State of
         California.

         Be advised that the DFEH does not review or edit the complaint form to ensure tha: it meets
         procedural or statutory requirements.

         Sincerely,

        Department of Fair Employment and Housing




                                                                          21
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 26 of 60 Page ID #:36




                         CAI rFORNIA I : icInr<o   i.IIMPLRnwirdst and Hn4 ,‘Inn Annpcv       yFRNOR EDMUND G. BROWN JR.

                DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                               DIRECTOR KEVIN KISH
                2218 Kausen Drive, Suite 1001 Sk Grove I CAI 95753 •
                800-884-1684 I TOD 800-700-2320
                www.dleh.cagov I emalt contact.center@dfeh.ca.gov




       September 08, 2016

       RE: Notice of Filing of Discrimination Complaint
       DFEH Matter Number: 809253-249615
       Right to Sue: Del Rio / Anheuser-Busch Inbev Wordwide, Inc.


       To All Respondent(s):

       Enclosed is a copy of a complaint of discrimination that has been filed with the De„oartment of
       Fair Employment and Housing (DFEH) in accordance with Govemmer : Code seafnn 12960.
       This cionstituteS service of the complaint pursuant to Government Code section 12062. The
       complainant has requested an authorization to file a lawsuit. This case is not being .ovestigated
       by DFEH and is being closed immediately. A copy of the Notice of Car; Closure Ficl Right to
       Sue is enclosed for your records.

       Please refer to the attached complaint for a list of all respondent(s) and their contact information.

       No response to DFEH is requested or required.

       Sincerely,

       Department of Fair Employment and Housing




                                                                             22
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 27 of 60 Page ID #:37




                                                                                                                                                                         CM-010
         ATTORNEY OR PARTY WITHOUT ATTORNEY
      — Kevin C. Boyle, Esq. (190533)(Name. Stale Bar number. and address):                                                             t 393fM4sfREYCJ COPY
           24007 Ventura Blvd, Suite 260                                                                                                     ORIGINAL FILED
           Calabasas, CA. 90302                                                                                                             'erior Court of California
                                                                                                                                            Jounty cf Los Angeles
                 TELEPHONE NO,:       818-591-1755                    FAX NO.:   818-591-1756
         ATTORNEY FOR (Name):                                                                                                                    SEP                  2016
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF                 Los Angeles                                                       Sherri                 e,, EnuuLtut: uine/L lea
               STREET ADDRESS:        111 No. Hill Street
              MAILING ADDRESS:                                                                                                  By:                                          Deputy
             CITY AND ZIP CODE:       Los Angeles, CA. 90012                                                                                ishayla Chambers
                    BRANCH NAME:
          CASE NAME:
          Christina Del Rio V Anheuser Busch
                                                                                                                         CASE NUMBER:
              CIVIL CASE COVER SHEET                                       Complex Case Designation
      I✓       Unlimited        LimitedIn                            ❑       Counter         El Joinder
                                                                                                                                        BCC33 r
               (Amount          (Amount
                                                                                                                          JUDGE:
               demanded         demanded is                          Filed with first appearance by defendant
               exceeds $25,000) $25,000 or less)                         (Cal. Rules of Court, rule 3.402)                 OEPT:

                                                  Items 1-6 be ow must be completed (see instructions on Imo 2).
      ; , Check oi-:e bog below for the case type that best describes this case:
          Auto Tort                                     Contract                                                 Provisionally Compi:z Civil Litigation
          Li Auto (22)                                  1   I Breach of contract/warranty (06)                   (Cal. Rt,!es of Court, -dies 3.400-3.403)
           Fl•Uninsured motorist (46)                                      Rule 3,740 collections (09)            ❑     AntitrusUTrade gulation (03)
           Other PI/PD/WD (Personal Injury/Property                        Other collections (09)                 ❑     Construction de -.ct (10)
           Damage/Wrongful Death) Tort                                     Insurance coverage (18)               = 'Vass tort (40)
                IAsbestos (04)
                                                                 ❑     Other contract (37)                       CD     Sacurities           ,1 (28)
           n Product liability (24)
           ri  •Medical malpractice (45)
                                                                 Real Properly
                                                                 ❑     Eminent domain/Inverse
                                                                                                                                                 tort (30)
                                                                                                                 0 ksJrance cover7ge claims arising from the
                                                                                                                                                                  •

           I I  Other PI/PDM/D (23)                                    condemnation (14)                              above listed priij rsionally complex case
           Non-PI/RD/WO (Other) Tort                             r-i •Wrongful eviction (33)                          t -oes (41)      C

                     Business tort/unfair business practice (07) ❑ Other real property (26)                      Enforcs7:tent of JucL - .ent
                     Civil rights (08)                           Unlawful Detainer                               ❑      Er,forcement of Jgment (20)
                     Defamation (13)                             [—I •C ommercial (31)                           Mcelf...aeous Civil ri. mplaint
                     Fraud (16)                                  ❑        Residential (32)                       ❑      Fi!CO (27)
          1-7     Intellectual property (19)                     ED Drugs (38)                                   0 Other complaint1ot specified above) (42)
          r-i    •Professional negligence (25)                   Judicial Review                                 tillscellcneous Civil P ,.:ition
                Other non-PI/PD/WD tort (35)                             • Asset forfeiture (05)
                                                                                                                 n Partnership and ,nrporate governance (21)
           Employment                                            El Petition re: arbitration award (11) 7 Other petition (nc specified above) (43)
                                                                       •
                 Wrongful
                 •             termination (36)                  El Writ of mandate (02)
                                                                       •
       ri   O ther employment (15)
            •                                              •     Ti Other *udicial review (39)
    2. This case          is           is not  complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
       factors requiring exceptional judicial management:
       a. ❑ Large number of separately represented parties            .d. ElLarge number of witnesses
       b.      Fl
                Extensive motion practice raising difficult or novel   e. l I Coordination with related actions pending in one or more courts
 4               issues that will be time-consuming to resolve                in other counties, stst'es, or countri..is, or in a federal court
 fo    c. 1---1 Substantial amount of documentary evidence             f.                 I I
                                                                              Substantial pOsiludgroent judicial t,,;pervision

 ty 3.  Remedies sought (check all that apply): a.P:?}"Frionetary b. n nonmonetary; declaratory or injuncti' 'a relief                                       c.        punitive
 i. 4. Number of ccuses of action (specify):E
 - 5. This case             El is P5?1
                                   is not a class action suit.
    6. If there are any known related cases, file and serve a notice of related case. (You may rm M-01.-
                                                                                                                  •                      , tin
     Date: September 2, 2016
     Kevin C. Boyle, Esq.
                                       (TYPE CR PRINT NAME)                                                    (SIGf.4TURE. CIF PARTY OR Ki,,;•IRN FO'        TY)
                                                                             NOTICE
 0     • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small clainy . cases or cases filed
          under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of COJrt, rule 3.21.!1.) Failure to file may result
          in sanctions.
       • File this cover sheet in addition to any cover sheet required by local court rule.                                  ;n
       • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy o . .his cover sheet on all
          other parties to the action or proceeding.
       • Unless this is a collections case under rule 3.740 or a complex case, this cover sheetwill be used for ste'.tStical purposes only.
                                                                                                                                                                      i of 2
     Form Adopted for Mandatary Use                                                                           Cal. Rules of Co. , rules 2.30, 3.220, 3.400-3.403. 3.740;
       Judicial Council of California                       CIVIL  CASE      COVER     SHEET                         Cal Slau'...:rds of Judicial /.1minislrelion. std. 3.10
         CM-010 'Rev. July 1. 2007)                                                                                                                           www.courtinfo.cagov


                                                                                      23
 Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 28 of 60 Page ID #:38
                                                                                                                            a•


                                                                                                                           Jr?


  g HORT TITLE:                                                                                             CASE NUMBER:
  CHRISTINA DEL RIO V. ANHEUSER BUSCH
                                                        CIVIL CASE COVER SHEET ADDENDUM AND
                                                                                                                                  ou
                                                               STATEMENT OF LOCATION
                                     (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

           This form is required pursuant to Local Rule 2.3 in all new civil case filings in the'Los AngelE4 Superior Court.

Item I.     Check the types of hearing and fill in the estimated length of hearing expected for this case:

  JURY TRIAL? Cl YES CLASS ACTION? al YES LIMITED CASE? 1::1 YES TIME ESTIMATED FCR TRIAL                              7-`f O          D HOURS/ El DAYS.
Item II. Indicate the correct district and courthouse location (4 steps - If you checked "Limited Case", skip                     Item III, Pg, 4):
                                                                                                                            5.
Step 1: After first completing the Civil Case Cover Sheet form, find the main. Civil Case Cover Sheet heath'', for your
case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case tro you selet".ad.

Step 2: Check one Superior Court type of action in Column B below which best describes the,nature of                              case.

Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you he,
checked. For any exception to the court location, see Local Rule 2.3.
                                                                                                                                  —1
                                      Applicable Reasons for Choosing Courthouse Location (see C.74                C bel v)

    1.   Class actions must be filed In the Stanley Mosk Courthouse, central district.         6. Location moperty or t nnanentiy garaged vehicle,
    2.   May be filed in central (other county, or no bodily injury/property damage).          7. Location of       petitions resides.
    3.   Location where Cause of action arose.                                                 8. Location v erein defem :It/respondent functions wholly.
    4.   Location where bodily injury, death or damage occurred.                               9. Location wi'lere one or IT: re of the parties reside.
    5.   Location where performance required or defendant resides.                             10. Location of LaborComny taiOner Office.
                                                                                               11. Mandatory Filing Locate-. (Hub Case)

Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.


                             A                                                      B                                                    C Applicable        .
              Civic Case Cover Sheet                                          Type of Action                                           'Reasons - See Step 3
                   Category No.                                             (Check only one)            '                                     Above

                         Auto (22)           0     A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Deatht .                1., 2., 4.


              Uninsured Motorist (46)        D     A7110 Personal injury/Property Damage/Wrongful Death - Uninsured AA".g orist           1., 2., 4.


tr                 Asbestos (04)
                                             0     A6070 Asbestos Property Damage
                                                                                                             t."
                                                                                                                                          2.
=,                                           [,.   A7221 Asbestos - Personal InjuryNVrongful Death                                        2.
°. ;-
ag
              Product Liability (24)         L:1 A7260 Product Liability (not asbestos or toxic/environmentri)                            1., 2.. 3., 4., 8.

   71)
   c
                Medical Malpractice
                                             D     A7210 Medical Malpractice - Physicians & Surgeons
                                                                                                                           -
                                                                                                                                          1., 4.
• o'
c ‘-
o
                       (45)
                                             D     A7240 Other Professional Health Care Malpractice.                                      1., 4.
vi
                       Other
                                                A7250 Premises Liability (e.g., slip and fall)      .                      .t.            1., 4.
13. co
    co
• E
                   Personal Injury
                  Property Damage
                                             D   A7230 Intentional Bodily Injury/Property Damage/Wrongfu' Death            It
                                                                                                                           ip
                                                       (e.g., assault, vandalism, etc.)                                                   1., 4.
O                  Wrongful Death                                                                       .
                                             (Z3 A7270 Intentional Infliction of Emotional Distress                        ...)           1,, 3.
                       (23)
                                             D   A7220 Other Personal Injury/Property Damage/Wrongful Caath                               1., 4.




I-ACIV 109 (Rev: 31151                                  CIVIL CASE COVER SHEET ADDENDUM                                                                    Local Rule 2.3
LASC Approved 53-)4                                                                                                                                         Page 1 of 4
                                                          AND STATEMENT OF LOCATION
Martin Dente;

ESSM AL FORM.c-

                                                                              24
  Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 29 of 60 Page ID #:39



  SHORT TITLE                                                                                                         CASE NUMBER

  BVK v. RIVIERA, et. al.                                                                                           L 1
                                                                                                                      . 17,10457C

                                    A                                                           B                                            C Applicable
                          Civil Case Cover Sheet                                          Type of Action                                   Reasons - See Step 3
                              Category No.                                            (Check only one)                                               Above
• o
a)
o
                            Business Tort (07)         0     A6029   Other Commercial/Business Tort (not fraud/breach of contract)           1.,3.

cL.                          Civil Rights (08)         D     A6005 Civil Rights/Discrimination
                                                                                                                                      _.
                                                                                                                                             1., 2., 3.


c
                             Defamation (13)           0     A6010 Defamation (slander/libel)                                                1., 2., 3.

To
c
                  0             Fraud (16) •           0     A6013 Fraud (no contract)                                                       1., 2., 3.
o
• 15
o En
                              Professional
                               Negligence
                                                       0 A6017 Legal Malpractice                                    .,                        1., 2., 3.
                 m                                                                                                                   -        1.,.2., 3.
                                                       0 A6050 Other Professional Malpractice (not medical or legal)
                 E                (25)
o
z
                               Other (35)              0 A6025 Other Non-Personal Injury/Property Damage tort                                 2., 3.

  111
    .                     Wrongful Termination         ,
                                                       Lj A6037 Wrongful Termination                                                          1., 2., 3.
  E                               (36)
  0
                           Ctitor Emplc,:ment          a     A6024   Other Employment Complaint Case                                         1., 2., 3,
      E                           (15)                 D     A6109 Labor Commissioner Appeals                                                 10.



                           Breach of Contract/
                                                       D     A6004 Breach of Rerta:/Lease Contract (not Unlawful Detainer or         _        2., 5.
                                                                     Wrongful eviction)
                                Warranty
                                                       ZI A6008 Contract/Warranty Breach-Seller Plaintiff (no fraudin 'Illgence)     )__     2., 5.
                                  (06)
                             (not Insurance)
                                                       D     A6019 Negligent Breach of Contract/Warranty (no fraud)                           1,, 2., 5.
                                                       I:3   A6028 Other Breach of ContractNVarranty (not fraud or nersllence)                1., 2., 5.


                               Collections             0     A6002 Collections Case-Seller Plaintiff                                         1, 5., 6, 11.
                                  (09)                 0     A6012   Other Promissory Note/Collections Case                           •       2., 5, 11.
  C
      0                                                D     A6034 . Collections Case-Purchased Debt (Charged Off Consumer Debt       _      5, 6, 11.
                                                                     Purchased on or after January 1, 2014)
                                                                                                                                     _.
                           Insurance Coverage      •
                                                       0 A6015 Insurance Coverage (not complex)                                              1., 2., 5., 8.
                                  (18)


                             Other Contract
                                                       D     A6009 Contractual Fraud                                                         1,, 2., 3., 5.
                                                       L:3   A6031 Tortious Interference                                                     1., 2., 3., 5.
                                  (37)
                                                       D     A6027 Other Contract Dispute (not breach/insurance/fraud/negligence)            1., 2., 3., 8.

                                Eminent
                                                       0 A7300 Eminent Domain/Condemnation                 Number of parcels                 2.
                             Domain/Inverse
      ar
      lst                  Condemnation (14)
  0.
  aor
                            Wrongful Eviction
                                  (33)
                                                       D     A6023 Wrongful Eviction Case                                                     2., 6.


                            '                          0
                                                       ❑     A6018 Mortgage Foreclosure                                                      2., 6.
                           ether
                              f Real Property
                                  (26)
                                                       D     A6032   Quiet Title                                                             2., 5.
                                                       [j A6060 Other Real Property (not eminent domain, landlord/tenant, forecict gyre)     2., 6.

                           Unlawful Deiainer-
      Unlawful Detainer




                                                       al    A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              2., 6.
                            Commercial (31)
                                                                                                                    ,..
                           Unlawful Detainer-
                                                       CD    A6020 Unlawful Detainer-Residential (not drugs or wrongful wIction)             2., 6.
                             Residential (32)
                           Unlawful Detainer
                                            -A6020F
                                                 ❑ Unlawfui Detainer-Post-Foreclosure                                                -       2., 6.
                          Post-Foreclosure (34)
                           Unlawkil Detainer-
                                                       ID    A6022 Unlawful Detainer-Drugs                                                   2., 6.
                               Drugs (38)


LACIV 109 (Rev. 3/151                                              CIVIL CASE COVER SHEET ADDENDUM                                                            Local Rule 2.3
LASC Approved 03-04                                                                                                                                            Page 2 of 4
                                                                     AND STATEMENT OF LOCATION
 Martin Dean's
                                                                                                                        3VK Ccr tyard
ESSENTIAL FORMS'"

                                                                                           25
         Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 30 of 60 Page ID #:40



        SPORT                                                                                                      CAgE NUMBER Jr

        BVK v. RIVIERA, et. a                                                                                      I .'10457C

                                         A                                                B                                                  C Applicable
                             Civil Case Cover Sheet                                Type of Action                                           Reasons - See Step 3
                                   Category No.                                  (Check only one)                                                 Above

                             Asset Forfeiture (05)    0 A6108 Asset Forfeiture Case                                                      2., 6.
       Judicial Review




                            Petition re Arbitration
                                       (11)
                                                      D    A6115 Petition to Compel/ConfirmNacate Arbitration                     - 2., 5.

                                  Writ of Mandate     ZI A6151      Writ - Administrative Mandamus                                 2., 8.
                                        (02)          0 A6152       Writ- Mandamus on Limited Court Case Matter .                1 2.
                                                      0 A6153       Writ - Other Limited Court Case Review                         2.


                             Other Judicial Review    D A6150       Other Writ/Judicial Review                                        I 2., B.
                                     (39)

                                Antitrust/Trade
                                                      D A6003       Antitrust/Trade RegUlation                                        1 1., 2., 8.            •
         c                      Regulation (03)
                             Construction Defect
                                      (10)
                                                      0 A6007       Construction Defect                                                  1., 2., 3.

                             Claims Involving Mass
                                   Tort (40)
                                                      D A6006       Claims Involving Mass Tort                                           1., 2., B.


          E
          0
                             Securities Lit'gation
                                      (2B)
                                                      0 A6035       Securities Litigation Case                                    .' 1., 2., C.

                                                                                                                                . 11
                                  Toxic Tort
                                                      D A6036       Toxic Tort/Environmental
                                                                                                                                  . .1   1., 2., 3., 8.
                              Environmental (30)
         O

       3.                    Insurance Coverage
       2                                              I:=3 A6014    Insurance Coverage/Subrogation (complex case only)                   1., 2., 5., 8.
       o.                    Claims from Complex
                                 ' Case (41)

                                                      Zli A6141     Sister State Judgment                                                2., 9.                    ,
Enforr..ement




                    a)                                D A6160       Abstract of Judgment                                                 2., 6..
                E•                 Enforcement
                rn                                    1=1 A6107     Confession of Judgment (non-domestic relations)                      2., 9.
                73 •               c.,f Judgment
                                        (20)
                                                      D    A6140    Administrative Agency Award (not unpaid taxes)                       2., 8.
                                                      0 A6114       PetItion/Certificate for Entry of Judgment on Unpaid Tax             2., 8.
                0
                                                      1:3 A6112     Other Enforcement of Judgment Case                                   2., 8., 9.


                                    RICO (27)         0 A6033       Racketeering (RICO) Case                                              1., 2., 8.
                                                                                                                                  4;
                               Other Complaints       D A6030        Declaratory Relief Only                                       ! 1.. 2., 8.
                             (Not Specified Above)    D A6040        Injunctive Relief Only (not domestic/harassment)              .2., 8.
                                     (42)             0 A6011        Other Commercial Complaint Case (non-tort/non- ..implex)     1 1., 2., 8.
                                                          A6000      Other Civil Complaint (non-tort/non-complex)                  : 1., 2., 8.

                            Partnership Corporation   ,--,
                                                      LA A6113      Partnership and Corporate Governance Case                            2., 8.
                                  Governance (21)


                                Other Petitions
                                                      0 A6121       Civil Harassment                                              -   2., 3., 9.
                                                      D A6123       Workplace Harassment                                            , 2., 3., 3.
                             (Not Specified Above)
                                                      NM A6124      Elder/Dependent Adult Abuse Case                                  2., 3., 9.
                                     (43)
                                                      0 A6190       Election Contest                                              - 2.
                                                      0 A6110       Petition for Change of Name                                       2., 7.
                                                      0 A6170       Petition for Relief from Late Claim Law                        . 2.,'3., 4., 8.
                                                      D A6100       Other Civil Petition                                             2., 9.



LACIV 109 (Rev. 3715)                                          CIVIL CASE COVER SHEET ADDENDUM                                                               Local Rule 2.3
                                                                                                                                                              Page 3 of 4
LASC Approved C3-04
                                                                   AND STATEMENT OF LOCATION
                         Dean's
                                                                                                                     t3VK Cot. tyard
ESSENTIAL FERN'S-
                                                                                      26
  Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 31 of 60 Page ID #:41



I smoF0-17n_E;'                                                                                  CASE NUMBER
  OHRISTINA DEL RIO V. ANHEUSER BUSCH

Item III. Statement of Location: Enter the address of the accident, party's residence or place of ;:!isiness,    rorrnance, or other
circumstance indicated in Item II., Step 3 on.Page 1, as the proper reason for filing in the court ;-cation you :.elected.

 REASON: Check the appropriate boxes for the numbers shown                           ADDRESS:
 under Column C for the type of action that you have selected for                    28143 TAMBORA ' RIVE
 this case.
 01. [D2. Ezj 3. Q4. CD 5. 06. 07. I18. 09.                           010. Ol
     CITY:                                   STATE:        7P CODE:
     SANTA CLARITA                           CA               91351
Item IV. Declaration of Assignment: I declare under penalty of perjury under the laws of the Statn of Califon-.'3 that the foregoing is true
and correct and that the above-entitled matter is properly filed for assignment to the LOS Ac.IGELES                         courthouse in the
CENTRAL                      District of the Superior Court of California, County of Los Angeles [Code Civ. Pi .-.: , § 392 et seq., and Local
Rule 2.3, subd, (a).                                                                                           !
                                                                                                                ')
                                                                                                                     /

Dated:       SEPTEMBER 2, 2016
                                                                                                              -4"---
                                                                             (SIGNATURE OF AlTOFNEY/FILING ) 7TY)



PLEASE HAVE THE_ FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORD'EA TO PRO.--ERLY
COMMENCE V:':UR NEW COURT CASE:


                                                                                                                 on
1.      C...:rigim.:1C::.mplt:oint or Petition., ,

2.,     If filirg a Complaint, a completed Summons form for issuance by the Clerk.

3.      Civil Case Cover Sheet, Judicial Council form CM-010.

4.      CivitCase Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Aporoved 03-0 --;Rev,
        03/15).

5.      Payment in full of the filing fee, unless fees have been waived..

6. ,Iesigned order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the               or petit' ;er it. a
   4Ininor under 18 years of age will be required by Court in order to issue a summons.

7. it dditional copies of documents to be conformed by the Cleric. Copies of the cover sheet and this adder durn
   4rnust be served along with the summons and complaint, or other initiating pleading in the crse.




                                                                                                                  0,




LACIV 109 (Rev. 3/15)                                 CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
LASC Approved 03-04                                                                                                                     Page 4 cr 4
                                                        AND STATEMENT OF LOCATION                                4
 Mara. PecrrA
                                                                                                        VK Cot, yard
ESSENTIAL ELMS-

                                                                        27
                                                                                                  ,n.            ,or.
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 32 of 60 Page ID #:42



                                       SUPERIOR COURT OF CALIFORNIA, COUNTY CIF.LC../1kNGELES)ri
                                 NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE (Ni N-CLASS rTION)
                                       Case Number                                                                        BC 6:335ai
                                 THIS FORM IS TO BE SERVED WITH THE SUMMONS !D COMP MINT
     Your case is assigned for all purposes to the judge indicated below. There is more inform_ 'ion on the *verse side of this form.

         ASSIGNED JUDGE                       DEPT     ROOM                ASSIGNED JUDGE                    L DEPT             ROOM
                                                                                                              i
         Hon. Kevin C. Brazile                 1         534               Hon. Elizabeth Allen White           48               506

         Hon. Barbara A. Meiers                l2        636               Hon. Deirdre Hill                        49            509

         lion. Terry A. Green                  14        300               Hon. Teresa A. Beaudet                   50            508

         Hon. Richard Fruin                    15        307               Hon. Michael J. Raphael                  51           511

         Hon. Rita Miller                      16        306               Hon. Susan Bryant-Deason                 52           510

         liou. Richard E. Rico                 17        309               Hon. Howard L. Halm                      53           513

         Hon. Stephanie Bowick                 19        311               Hon. Ernest M. Hiroshige                 54           512

          Hen. Dalih Corral Lyons         .    20        310               Hon. Malcolm 1-1. Mac 'ey                55           515

          lion. Robert L. Hess                 24         314              Hon. Michael Johnson                     56           514

          Hon. Yvetze M. Palazuelos            28         318              Hon. John P. Doyle                       58           516
                                                                                                  s
          Hon. Barbara Scheper                 30         400              Hon. Gregory Keosiar.             ' 61                732

          Hon. Samantha Jessner                31         407              Hon. Michael L. Stern                    62           600


            on. Daaiel S. Murphy               32         406              Ron. Mark Mooney       1v          r     68         . 6!7.


          Hon. Michael P. Linfield             34         408              Hon. William F. Fahey                    69           621

          Hon. Gregory Alarcon                 36         410              Hon. Suzanne G. Bruguera                 71           729

          Hon. Marc Marmaro                    37         413              Hon. Ruth Ann Kwan                      72            731

          Hon. Maureen Duffy-Lewis             38         412              Hon. Rafael Ongkeko                     '13           733

          Hon. Elizabeth Feller                39         415              Hon. Teresa Sanchez-Gordon              74            735

          Hon. David Sark)                     40         414              Hon. Gail Ruderman Feuer                78            730

          Han. Holly E. Kendig                  42        416     .

          lion. Mel Red Recana                  45        529              Hon. Steven J. Kleifiel-2               324          CCW

                                                                           *Provisionally Complez
          Hon. Frederick C. Sheller             46        500
                                                                           Non-class Action Cases
                                                                           Assignment is Pending                   324          CCW
          Hon. Debre K. Weintraub               47        507
                                                                           Complex Determination.

  *Complex

 All non-class action cases designated as provisionally complex are forwarded to the Supervising edge of th       72omplex Litigation Program
 located in the Central Civil West Courthouse (600 S. Commonwealth Ave., Los Angeles 90005' for comp;              'non-oomph-7.: determination
 pursuant to Local Rule 3.3(k). This procedure is for the purpose of assessing whether or not t ,e case is c       !plea          the meaning of
 California Rules of Court, rule 3.400. Depending on the outcome of that assessment, the au m-: be reassir        -t!, to one of the hylges of the
 Complex Litigation Program or reassigned randomly to a court in the Central DiWpt. 11W
                                                                            SS) XI 4
 Given to the Plaintiff/Cross-Complainant/Attorney of Record on                            SHERT-7.1 R.                  Executive Officer/Clerk
                                                                                                       Fthayla Cambers
                                                                                            By                                  , Deputy Clerk


 LACIV CCH 190 (Rev.06/16)                           - NOTICE OF CASE ASSIGNMENT -                                                     Page I oft
    LASC Approved 05-06                                  UNLIMITED CIVIL CASE

                                                                      28
 Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 33 of 60 Page ID #:43




                               INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES


The following critical provisions of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

APPLICATION

The Chapter Three Rules were effective January 1, 1994. They apply to all general civil cases.

PRIORITY OVER OTHER RULES

The Chapter Three Rules shall have priority over all other Local Rules to the extent the others'ire inconsiti
                                                                                                           on..
CHALLENGE TO ASSIGNED JUDGE                                                               y a 1r           ,iie




A challenge under Code of Civil Procedure section 170,6 must be made within 15 days aft notice of ssignment for all purposes to a
judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS

Cases assigned to the Individual Calendaring Court will be subject to processing under the folbwing time Landards:

COMPLANTS: All complaints shall be served within 60 days of filing and proof of service shall be file i within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed                 any party after their answer is
filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service. led withi .50 days of the filing date.

A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the complaint.
Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, ettlement, trial date, and expert
witnesses.

 FINAL STATUS CONFERENCE

 The Court will require the parties at a status conference not more than 10 days before the trial to have timely filed and served all motions
 in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested ju-y instructions, and special jury
 instructions and special jury verdicts. These matters may be heard and resolved at this conference. At lez. st 5 days before this conference,
 courfiel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief s'itement of the case to be read to
 the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

 SANCTIONS
                                                                                                         a
 Th/ court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rul. , orders made by the Court, and
 tirnl standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may ; on a party or if appropriate on
 counsel for the party.

 This is not a complete delineation of the Chapter Three Rules; and adherence only the abov ,.provisions is therefore not a
 guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful rer ing and compliance with the
 actual Chapter. Ryles is absolutely imperative.




  LACIV CCH 190 (Rev.06/16)                         - NOTICE OF CASE ASSIGNMENT —                                             Page 2 of 2
      LASC Approved 05-06                               UNLIMITED CIVIL CASE

                                                                    29
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 34 of 60 Page ID #:44




                                    VOLUNTARY EFFICIENT LITIGATICiN STW JLATIONS


                                       The Early Organizational Meeting Flpulatic.'", Discovery
                                    Resolution Stipulation, and Motions in Limine &Mutation are
     Superior Court of California
     County of Los Angeles
                                    voluntary stipulations entered into by the parties,dThe parties
                                    may enter into one, two, or all three of the stipulations;
                                    however, they may not alter the stipulations as written,
                                    because the Court wants to ensure uniformity to; application.
     Los Angeles County
     Bar Assoc:Wien                 These stipulations are meant to encourage ,-,moperation
     Litigation SootIon

     Las Angeles County
                                    between the parties and to assist in resolving issues in a
     3ar Asseclation Labor and
     Employment Law Section         manner that promotes economic case rssolutio)- and judicial
                                    efficiency.
      eifir   ai
                                       The    following organizations enc: arse t:             goal of
     Consumer Attorneys
     Association of Los Angeles     promoting. efficiency 'in litigation ar;:i ask :''.at      counsel
                                    consider using these stipulations as a volur )ry way to
                                    promote communications and proced -res aim ilg counsel
                                    and with the court to fairly resolve issue:-. in their ,ases.

                                     *Los Angeles County Bar Association Litigati, n Section*
     Southern California
     Defense Counsel:

                                                  4, Los Angeles County Bar Associat on
                                                  Labor and Employment Law SectioE:*
        . "L.
      Assoolatiol of
      Eushess Trial Lawyers             *Consumer Attorneys Associatien of Lor Angeles*


                                              *Southern California Defens: Counf.-10

                                                                                it       rIE
                                             *Association of Business Tr _I Lawye
                                                                                r'
      California Employment                                                  it;
      Lawyers Association
                                          *California Employment Law feu Assoc itio0s

                                                                                         vc•
         LACIV 230 (NBA))
         LASC Approved 4-11
         For Optional Use
                                                          30
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 35 of 60 Page ID #:45




 NAME AND ADORERS OF ATTORNEY OR PARTY wiToloUT ATTORNEY:                 STATE BAR NUMBER                   -awned Nr   curie. FIN Stamp




                                                                                                        A I6




           TELEPHONE NO.:                                   FAX NO. (Optional):
  E-MAIL ADDRESS (Optional):
     ATTORNEY. FOR (Name):
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:


  PLAINTIFF:,                                                                                )t         rE

  DEFENDANT: ,
                        ..

                                                                                             iii CASE NUM     ir ,
                       STIPULATION — DISCOVERY RESOLUTION

         This stipulation is intended to provide a fast and informal r-.:soTAtion of 'iscovcry issues
         through limited paperwork and an informal conference with the Cc t t act in the
         resolution of the issues.

         The parties agree that:

         1. Prior to the discovery cut-off in this action, no discovery motion shall be fil d or heard unless
            the moving party first makes a written request for an Informal Discovery Cc Iference pursuant
            to the terms of this stipulation.

         2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
            and determine whether it can be resolved informally. Nothing set forth he; ein will preclude a
            party from making a record at the conclusion of an Informal Discovery Conference, either
            orally or in writing.

          3. Following a reasonable and good faith attempt at an informal resolution or each issue to be
             presented, a party may request an Informal Discovery Conference pursuz it to the following
             procedures:

                     a. The party requesting the Informal Discovery Conference AO:
                                                                                                            etif
                         i.      File a Request for Informal Discovery Conference vv `i the          -k's office on the
                                 approved form (copy attached) and deliver a courteq, cork ned copy to the
                                 assigned department;                               . .1.           a
                                                                                                  •u f        t•
                         ii.     Include a brief summary of the dispute and specify the - lief req. sted; and

                        iii. Serve the opposing party pursuant to any authorized or agreed lethocl cf service
                             that ensures that the opposing party receives the Rec,uest for formal Discovery
                             Conference no later than the next court day following filing. et
                                                                                           .)!
                      b. Any Answer to a Request for Informal Discovery Conference must:

                          i.      Also be filed an the approved form (copy attached);

                         ii.      Include a brief summary of why the requested relief shoild be deject;
          LACiV 035 (new)
          LAS'S Approved 04111                     STIPULATION — DISCOVERY RESOLUTON
          For C,pteial Use                                                                                                       Page 1 of 3



                                                                            31
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 36 of 60 Page ID #:46
                                                                                                     r,

                                                                                     t.

      SNORT T1118                                                                     CASE NUMBER:




                    iii.   Be filed within two (2) court days cf receipt of the Reqr.,:ist; and

                    iv.    Be served on the opposing party pursuant to any i';uthorizer_r or agreed upon
                           method of service that ensures that the opposing pr -ty recei% :s the Answer no
                           later than the next court day following the filing.
                                                                                        Je•
            c. No other pleadings, including but not limited to exhibits, decle rations, - attachments, will
               be accepted.
                                                                                        rn
            d. If the Court has not granted or denied the Request for tnfct-mal Disc wery Conference
               within ten (10) days following the filing of the Request, then it shall h deemed to have
               been denied. If the Court acts on the Request, the parties Will be n tified whether the
               Request for Informal Discovery Conference has been granted or den: d and, if granted,
               the date and time of the Informal Discovery Conference, which must bc within twenty (20)
               days of the filing of the Request for Informal Discovery Confemnce.

            e. If the conference is not held within twenty (20) days of tt- filing c the Request for
               Informal Discovery Conference, unless extended by agreerelent of II parties and the
               Court, then the Request for the Informal Discovery Conference shall t ) deemed to have
               been denied at that time.

      4. If (a) the Court has denied a conference or (b) one of the time cadlines Bove has expired
         without the Court having acted or (c) the Informal Discovery Con?,-.,Tence is -;oncluded without
         resolving the dispute, then a party may, file a discovery motion to ddress 1' 7esolved issues.

       5. The parties hereby further agree that the time for making a motion tt Tcompel or other
          discovery motion is tolled from the date cf filing of the Request •for 7orme.: Discovery
          Conference until (a) the request is denied or deemed denied br (..) twenty 10) days aitee the
          filing of the Request for Informal Discovery Conference, whichever is earlie unless e; tended
          by Order of the Court.                                                     or

             It is the understanding and intent of the parties that this stipulan shall, r each discover/
             dispute to which it applies, constitute a writing memorializing a ";specific I:er date to which
             the propounding [or demanding or requesting] party and the respcnding pa ,y have agreed in
             writing," within the meaning of Code Civil Procedure sections 20:".3.300(c)02031.320(c), and
             2033.290(c).

       6. Nothing herein will preclude any party from applying ex parte for,:approprie :a relief, including
 if       an order shortening time for a motion to be heard concerning disc,.,very.

       7. Any party may terminate this stipulation by giving twenty-one (21) days ',.otice of intent to
          terminate the stipulation.                                              .e

       6. References to "days" mean calendar days, unless otherwise noted. If the d te for performing
           any act pursuant to this stipulation falls on a Saturday, Sunday or t;ourt holi 'ay, then the time
           for performing that act shall be extended to the next Court day.
                                                                                          n,



       LACIV 036 (new)
       LASC Approved 04/11             STIPULATION — CISCOVERY
       For Optional Use                                                                                    PAge 2 of 3



                                                              32
                                                                                                      fc
                                                                                                      at
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 37 of 60 Page ID #:47




   rSHORT TITLE                                                          `.: • .gLIM9571:
                                                                  ----.17:
                                                                       I


                                                                      1
     The following parties stipulate:
                                                                                            11
     Date:

                    (TYPE OR PRINT NAME)                                (ATTORNEY FOR PLAINTIFF)
     Date:

                    (TYPE OR PRINT NAME)                               (ATTORNEY FOR DEF1NDANT)
     Date:                                                                                  a
                    (TYPE, CR PRINT NAME)                              (ATTORNEY FOR DE. .-..NDANT)



                    (TYPE OR PRINT NAME)                               (ATT:' ,..NEY FOR D -.NDANT)
      Date:.
                                                          ➢
                    (TYPE CR PRINT NAME)                      (ATTORNEY FL_
      Date:

                     (TYPE OR PRINT NAME)                     (ATTORNEY FC,
      Date:
                                                          ➢
                     (TYPE OR PRINT NAME)                     (ATTORNEY FC'




                                                                              R




       tACIV 038 (new)
       LASC Apprcved 04111            STIPULATION — DISCOVERY RESOLUTION
       For Optional Use                                                                               Page 3 of 3



                                                     33
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 38 of 60 Page ID #:48




  NAME AND ADDRE39 OF ATTORNEY OR Isom WITHOUT ATTORNEY:                 STATE BAR NUMBER                 R7tOrIod for Clerk's File Stamp




            TELEPHONE NO.:                                 FAX NO. (Optional):
   E-MAIL ADDRESS (Optional):
      ATTORNEY FCR (Name):
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINTIFF:


  DEFENDANT:

                                                                                                 CASE NUM." 1.

               STIPULATION - EARLY ORGANIZATIONAL MEETING

         Thia stipulation is intended to encourage cooperation among the p= roes at e. early stage in
         the litigation and to assist the parties in efficient case resolution.

          The parties agree that:

          1. The parties commit to conduct an initial conference (in-person or via telE. .onference or via
             videcconference) within 15 days from the date this stipulation is sig-ed, to di.s.:7uss and consider
             wneth?r there can be agreement on the following:

                a. Aro motions to challenge the pleadings necessary? If the issue ca. be resolved by
                   amendment as of right, or if the Court would allow leave to amend, t )uld an amended
                   complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                   agree to work through pleading issues so that a demurrer need only raise 'asues they cannot
                   resolve. Is the issue that the defendant seeks to raise amenable to resolut.:in on demurrer, or
                   would some other type of motion be preferable? Could a vo;,.intary tar 3ted exchange of
                   documents or information by any party cure an uncertainty in the. )Ieadings

                b. Initial mutual exchanges of documents at the "core" of the litication.    example, in an
                   employment case, the employment records, personnel file aryl docurm..tt relating to the
                   conduct in question could be considered "core." In a person:: injury c As, an incident or
                   police report, medical records, and repair or maintenance records cc d be considered
                   "core.");

                c. Exchange of names and contact information of witnesses;

                d. Any insurance agreement that may be available to satisfy par.. or all eca judgment, or to
                   indemnify or reimburse for payments made to satisfy a judgment;

               -e. Exchange of any other information that might be helpful to facilitate uncle:. ',ending, handling,
                    or resolution of the case in a manner that preserves objections or privileges 51, agreement;

                f. Controlling issues of law that, if resolved early, will promote effitiency no-economy in other
                    phases of the case. Also, when and how such issues can be presented to Le Court;

                2. Whether or when the case should be scheduled with a settlement officerri.vhat discovery or
                   ccurt ruling on legal issues is reasonably required to make settlement disctYsions meaningful,
                   and whether the parties wish to use a sitting judge or a private mediator v- other options as
          LACIV 229 (Rev 02/15)
          LASC Approved 04/11              STIPULATION - EARLY ORGANIZATIONAL ,IEETINC;
          For Optional Use                                                                                                        Page.1 of 2



                                                                            34
                                                                                                          7'4
                                                                                            41             as,
                                                                                                          .u!
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 39 of 60 Page ID #:49

                                                                                                       3



     SNORT 1171E:                                                                          ;G NUMBER




                    discussed in the "Alternative Dispute Resolution (ADR) Information Packacvi served with the
                    complaint;

           h. Computation of damages, including documents, not privileged or ;*- rotectedotm disclosure, on
              which such computation. is based;

            i. Whether the case is suitable for the Expedited Jury Trial prcr;edures ( le information at
               www.lacourt.orq under "Civir and then under "General Information").

     2.             The time for a defending party to respond to a complaint or cross-complaiht will be extended
                    to                         for the complaint, and                        h for the cross-
                             (INSERT DATE)                                       (INSERT DATE)
                     complaint, which is comprised of the 30 days to respond under Governmen" Code § 68616(b),
                    'and the 30 days permitted by Code of. Civil Procedure section 1054(a), r             cause having
                     been found by the Civil Supervising Judge due to the case management b,-nefits provided by
                     this Stipulation. A copy of the General Order can be found at www.lacou-, orq under "Civil',
                     click on "General Information", then click on "Voluntary Efficient Ltigation S, oulations".

      3.            The parties will prepare a joint report titled "Joint Status Report ursuant I Initial Conference
                    and Early Organizational Meeting Stipulation, and if desired, a 3roposed rder summarizing
                    results of their meet and confer and advising the Court of any - -ay it ma__=.1ssist lie parties'
                    efficient conduct or resolution of the case. The parties shall att .!-r the JC Stattn Report to
                    the Case Management Conference statement, and file the Jocument when the CMC
                    statement is due.

      4.      References to "days" mean calendar days, unless otherwise note-. If the c,,te for performing
              any act pursuant to this stipulation falls on a Saturday, Sunday or Court ho!! jay, then the time
              for performing that act shall be extended to the next Court day
                                                                                           it:
      The following parties stipulate:
      Date:

                        (TYPE OR PRINT NAME)                                       (ATTORNEY FOr PLAINTIFF)
      Date:

                        (TYPE OR PRINT NAME)                                      (ATTORNEY FOR flEFENDANT)
      Date:
                                                                       ➢                               4'
                      • (TYPE OR PRINT NAME)                                      (ATTORNEY FOR .-EFENDANT)
      Date:                                                                                            r'
                                                                       ➢
                        (TYPE OR PRINT NAME)                                      (ATTORNEY FOR 'DEFENDANT)
                                                                                      ,)        0
       Date:
                                                                                                       0
                                                                       ➢
                        (TYPE OR PRINT NAME)                                 (ATTORNEY';POR
       Date:

                        (TYPE OR PRINT NAME)                                 (ATTOPNE.
       Date:
                                                                                       •               14.
                        (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


       LACIV 229 (Rev 02/15)
       LASC Approved 04/11         STIPULATION — EARLY ORGANIZATIONAL MEETIN                                  Pcce 2 of 2


                                                               35
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 40 of 60 Page ID #:50




  NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                  STATE BAR NUMBER                        , •seN.d la cime.n. Stamp




                                                                                                                   D


            TELEPHONE NO.:                                   FAX NO. (Optional):
   E-MAIL ADDRESS (Optional):
      ATTORNEY FOR (Name):
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                                    —
                                                                                                                   ..,
  PLAINTIFF:


  DEFENDANT:
                                                                                                      i

                                                                                                          CASE NUM.,:    i:
                           INFORMAL DISCOVERY CONFERENCE
                  (pursuant to the Discovery Resolution Stipulation of the parties)
          1. This document relates to:
                                 Request for Informal Discovery Conference
                     LI          Answer to Request for Informal Discovery Conference
          2. Deadline for Court to decide on Request:                                          (insert fate 10 osier ar days following filing cf
                the Request).

          3. Deadline for Court to hold Informal Discovery Conference:                                                    (Insert date 20 calendar
                days following Cling of the Request).

          4. For a Request for Informal Discovery Conference, briefly describe 1.-T,e nature of the
             discovery dispute, including the facts and legal arguments at issue. i 'or an Answer to
             Request for Informal Discovery Conference, briefly describe why the C 3urt should deny
             the requested discovery, including the facts and legal arguments at Issue




                                                                                                                     d




           LACIV 094 (new)                            INFORMAL DISCOVERY CONFERENCri
           1.143C Approved 04111
           For Untiona: Use                  (pursuant to the Discovery Resolution Stipulation of the parties)


                                                                              36
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 41 of 60 Page ID #:51




  NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE eat NUMBER               'saved In CAN. CM Stamp




            TELEPHONE NO.:                                  FAX NO. (Optional):
   E-MAIL ADDRESS (Optional):
      ATTORNEY FOR (Name):
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                      •

  PLAINTIFF:


  DEFENDANT:


                                                                                             CASE NUM E _ R:
                 STIPULATION AND ORDER — MOTIONS IN LIMINE


              3tipulation is intended to provide fast and informal resolution of evidentiary
         issues through diligent efforts to define and discuss such iss ies and mit paperwork.


         The parties agree that:

         1. At least       days before the final' status conference, each ,:arty wio-provide all other
            parties with a list containing a one paragraph explanation c each p; pose...! motion in
            limine. Each 'one paragraph explanation must identify the substance of single proposed
            motion in limine and the grounds for the proposed motion.

         2. The parties thereafter will meet and confer, either in perso or via. lleconferense or
            videoconference, concerning all proposed motions in limine.  that me r.t and confer, the
            parties will determine:

               a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                  stipulate, they may file a stipulation and proposed order wit`' the CoL. t.

               b. Whether any of the proposed motions can be briefed and submitt d by means of a
                  short joint statement of issues. For each motion whiCh cnn be add!essed by a short
                  joint statement of issues, a short joint statement of issues must bet d with the Court
                  10 days prior to the final status conference. Each side's portion •.3f the short joint
                  statement of issues may not exceed three pages. The parties will meet and confer to
                  agree on a date and manner for exchanging the 'parties' respectiv portions of the
                  short joint statement of issues and the process for filing tile short ijoint statement of
                  issues.

          3. All proposed motions in limine that are not either the subject a- a stipule",ion or briefed via
              a short joint statement of issues will be briefed and filed in act...I-dance • ith the California
             Rules of Court and the Los Angeles Superior Court Rules.
                                                                                                        a


         LACIV 075 (new)                                                                                tt
         LASC Approved 04/11              STIPULATION AND ORDER — MOTIONS IN !MINE
         For Optional Use                                                                              -e                  Pabs; 1 d 2



                                                                            37
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 42 of 60 Page ID #:52




     SHORT TITLE:                                                    C "E NUMBER:




     The following parties stipulate:

     Date:
                                                    ➢
                    (TYPE OR PRINT NAME)                         (ATTORNEY FOR "PLAINTIFF)
     Date:

                    (TYPE OR PRINT NAME)                        (ATTORNEY FOR t EFENDANT)
     Date:                                                                     %.14
                                                    ➢
                    (TYPE OR PRINT NAME)                I       (ATTORNEY FOR -2FENDANT)
     Date:
                                                    ➢
                    (TYPE OR PRINT NAME)                        (ATTO: ..;EY FOR i.FENDANT)
     Date:

                    (TYPE OR PRINT NAME)                    (ATTORNEY DR
     Date:

                    (TYPE OR PRINT NAME)                    (ATTORNEY DR
     Date:

                    (TYPE OR PRINT NAME)                    (ATTORNEY FOR



     THE COURT SO ORDERS.

       Date:
                                                                      JUDICIAL OF710ER




                                                                                    ')(




     LACIV 075 (new)
     LASC Approved 04/11     STIPULATION AND ORDER— MOTIONS IN LIMINE                        Page 2 of 2


                                               38
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 43 of 60 Page ID #:53




 9/12/2018                                                                                                     '30- Brew Hr dng
                                               Anheuser-Busch Brewery Les Angeles in Van Nuys, CA- (318) 989-.5_,


                                                                                                      Find a i-rewery or b, 'vpub (crty, state, or zip)

       BkEi 140,91"INa
                  sSEv/Pass               &
                                                                                                               . ..... .__......
                                                                                                      M:Firrat.P.::..,, WI 53201    -orvse by a stare...


       1F.a.t.211621 (Van Nuys CA) ( Top Brewery ) (New Brewery) (The Brewery
                                                                                                                           li4 1-7.11.14"
       Anheuser-Busch Brewery                                                                                                          111414.11[01 11-
                                                                                                                                       10.141.!fi     ,
                                                                                                                                        raplatitilint
       Los Angeles
       (Brewery)
       15800 Roscoe Blvd
       Van Nuys, CA 91406
       (818) 989-5300

       ***it                                                                                                                                               0.,•• Rght
       Anhouser-Buss.i Companies, Inc., a wholly-owned subsidiary of Anheuser-Busch
       InBev, Is the largest brewing company In the United States, The company operates
       12 hre.,veries in the United Stites and nearly 20 In other countries. It Is also one of
       America'; largest theme park operators; operating ten theme parks across the
       Unites states through the company's family entertainment division, Busch                                                          agalMap dFairtaitzorowde
       EntcrtAnrneni Corporation. It Is headquartered In St. Louis, Missouri,
                                                                                                   View on rri
       Ulpicad Your Resume                              General Manager,. •
       10009 Cr SIIIplayeid AIR                         Jim A. Misthos
         aV...);AC tPttriVORtlfatind,'
                                                                                                    Apply Online
               :    *4:-/P.                             Brewmaster                                                                 re.
       Luis -4: ;;;'p                                                                               Careerbot .que.com

       Lc     ;::;,:f. A
                                                                                                    Corplet...? Your Onli. Application Today.
       13600. Roscco Blvd., Van Nuys, CA 91406                                                      Start Yet:7 New Jol'....bmorrowl

       Employment
                                                                                                    $23 /                  Jot_ 1 at Fedex
       Approximatsly 800 employees

       Opened                                                                                                       i Free
                                                                                                    Dovyni pad Meti,,
       1954

       Brands Produced
                                                                                                    $15/17,-Pepsi
       Budweiser, Bud Light, Budweiser Select, Bud Ice, Bud Dry, Michelob, Michelob'                     .        ,+••• ,•
  to 'Light, Michelob ULTRA. Michelob AmberBock, Busch, Busch Light, Natural Light,                 Brower.,.'cs near I: ileusee-Busch
       Natural Ice, Hurricane Ice, Hurricane High Gravity, King Cobra, Kirin Ichiban, Kirin
                                                                                                    Brewe;1. Los Ancr)es .
       Light
   a                                                                                                Golden R070 Brewery
                                                                                                    5.30 rider
       Areas Served
                                Nevada, Arizona, approximately 40 export markets                    The Greaf.ii2eer Co
                                                                                                    Inspired byte Kolsch beer      G° rmsny, HOLLYWOOD...
                                                                                                    6,07 miles                  -r
                                                                                                                              ;71
       CommUnity Outreach
                                                                                                    BJ's RestaCrant & Brew.,
       Anheuser-Busch, through Its corporate foundation and community outreach efforts,             BJs Restea-,nts serve quk' food and fresh, han...
       gave mote than $1 million in the Los Angeles area lastyeer.                                  7.06 n.Pes
                                                                                                    Firenuns raw
       The Los Angeles brewery maintains a significant contributions budget for local               7.52 miles
       ordanizations, Including North Valley Family YMCA, Child & Family Guidance                   Karl Straw?, Associated lcro Breweries
                            HosCital Foundation and the UCLA Latino Alumni Association. In          9.33 reties
       addiiion, many Anheussr-Busch employees are involved on the boards of local                  Gordon Ble:'sch Brewer; testaurant
       charities. The brewery also partners with local branches of national organizations           "Fresh, harYyzafted beer a premium, made from e...
       such es t::ie Wit:ad Way and Roy Scouts cf America.                                          10.2 miles
                                                                                                    BJ's Pesti '..ent & Brew.?
       Site                                                                                         ars Restaur ate serve qua;' food and frer01, hen-.
       95 acres                                                                                     11.1 mites
                                                                                                    Cbr Brewir CO
       Tote! Floor Area                                                                             11.3 mires
       1,700,000 million square feel                                                                Blue Palm - 3rewhouse
                                                                                                    12.2 miles 0.
                                                                                                                         '    tY


                                                                               39
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page
                                                       U,  44 of 60 Page ID #:54
                                                                                                           -   us

                                                                                         if


                                                                                              f


         CT Corporation                                                          Sergi Ice of r'7000SS
                                                                                 Tranzmitta,
                                                                                 09/19,T016
                                                                                 CT Lo? Number 52. l68411
         TO:
                  Anheuser-Busch Companies, LLC.
                  1 Busch PI
                  Saint Louis, MO 63118-1849


         RE:      Process Served in California
                                                                                                                   c

         FOR:     Anheuser-Busch, LLC (Domestic State: MO)
                                                                                                               3.1




         ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE IMMPANY AS FOLLOWS:


         TITLE OF ACTION:                 CHRISTINA DEL RIO, Pltf. vs. ANHEUSER- BUSCH INBEV WasLDWIDE, INC., et al.,
                                                                                             no
                                          Dfts. // To: Anheuser-Busch, LLC

         noctir:.et.ms; SERVED:           Summons, Complaint, Cover sheet, Attachment(s), Stipul don(s), Exhibit(s)

         COURTMOENCY:                     Los Angeles County - Superior Court - Hill Street, CA
                                          Case # BC633541

         NATURE OF ACTION:                Employee Litigation - Discrimination

         ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA

         DATE AND HOUR OF SERVICE:        By Process Server on 09/19/2016 at 10:25      vr-                    Pt
                                                                                                               1
         JURISDICTION SERVED:             California

         APPEARANCE OR ANSWER DUE:        Within 30 days after service

         ATTORNEY(S) I SENDER(S):         Kevin C. Boyle
                                          LAW OFFICES OF KEVIN C. BOYLE
                                          5000 N. Parkway Calabasas, Suite 203
                                          Calabasas, CA 91302
                                          818-591-1755

         ACTION ITEMS:                    CT has retained the current log, Retain Date: 09/20/201 Expected Purge Dale:
                                          09/25/2016




                                                                                 Page             2 / SB

                                                                                 Informal :-m displayed on .1's transmittal is for CT
                                                                                 Corporation's record keening purposes only and is provided to
                                                                                 the recipient for quick     ,rence. This information does not
                                                                                 constitute a legal °Olio, -5 to the nature of action, the
                                                                                 amount 31' damages, the -iswer date, or any information
                                                                                 contained in the documt '3 themselves. Recipient is
                                                                                 responsiMe for interpret , said documents and for taking
                                                                                 approprIni.e action. Sign '..res on certified mail receipts
                                                                                 confirm rv:cipt of packatn only, not contents.


                                                         40
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 45 of 60 Page ID #:55
                                                                                           it
                                                                                          0.



                                                                                           a.
                                                                                          int.

        CT Corporation                                            Serice of ,:rocess
                                                                  TraLsmitta
                                                                  09/19/2016
                                                                  CT Log Number 529868411
        TO:
                Anheuser-Busch Companies, LLC.
                1 Busch Pt
                Saint Louis, MO 63118.1849


         RE:    Process Served in California

         FOR:   Anheuser-Busch, LLC (Domestic State: MO)




         SIGNED:                        C T Corporation System
         ADDRESS:                       818 West Seventh Street
                                        Los Angeles, CA 90017
         TELEPHONE:                     213-337-4615




                                                                  Page 2 of 2 / SB
                                                                  Information displayed on         transmittal is for CT
                                                                  Corporation's record keepins, purposes only and is provided to
                                                                  the recipient for quick re,..irence. This information does not
                                                                  constitute a legal opinion      to the nature of action, the
                                                                  amount of damages, the iswer date, or any Information
                                                                  contained in the documen .3 themselves. Recipient Is
                                                                  responsible for interpreting said documents and for taking
                                                                  appropriate action. Signatures on certified mail receipts
                                                                  confirm receipt of package only, not contents.


                                                      41
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 46 of 60 Page ID #:56




     3 CT Corporation                                                              Bernice of [- rotes
                                                                                   Trarsmitta)
                                                                                   09/19/2016
                                                                                   CT Log Number 52.:'364990
         TO:
                   Anheuser-Busch Companies, LLC.
                   1 Busch PI
                   Saint Louis, MO 63118-1849


         RE:       Process Served in California

         FOR:      Anheuser-Busch Inbev Worldwide Inc. (Domestic State: DE)




         ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE CpMPANY AS FOLLOWS:


         TITLE OF ACTION:                   CHRISTINA DEL RIO, Pltf. vs. Anheuser-Busch Inbev World, ide, Inc., et al., Dfts.
                                            Name discrepancy noted.
         DOCUMENT(S) SERVED:                Summons, Complaint, Attachment(s), Addendum, Letter
         Cam'. RTIAGEFiCV:                  Los Angeles County - Superior Court, CA
                                            Case # BC633541
         F1iairi.2E OF ACTION:              Employee Litigation - Discrimination
         ON WHOM PROCESS WAS SERVED:        C T Corporation System, Los Angeles, CA
         DATE AND HOUR OF SERVICE:          By Process Server on 09/19/2016 at 10:25                       P

         JURISDICTION SERVED                California
         APPEARANCE OR ANSWER DUE:          Within 30 days after this summons and legal - apers are L....lied on you to the written
                                            response
         ATTORNEY(S) / SENDER(S):           Kevin C. Boyle
                                            LAW OFFICES OF KEVIN C. BOYLE
                                            5000 N. Parkway Calabasas, Suite 203
                                            Calabasas, CA 91302
                                            818) 591-1755
         ACTION ITEMS:                      CT has retained the current log, Retain Date. 09/19/201 Expected Purge Date:
                                            09/24/2016




                                                                                   Page 1 of 2 / RT
                                                                                   Informatics displayed on .ais transmittal is for CT
                                                                                   Corporaton's record keel- ng purposes only and is provided to
                                                                                   the recioetnt for quick re -trence. This information does not
                                                                                   constitut a legal opinic,      to tile nature of action, the
                                                                                   amount c f damages, the - -,swer date, or any Information
                                                                                   contained in the documq,..s themselves. Recipient Is
                                                                                   responsible for Interpret' ; said documents and for taking
                                                                                   appropriLte action. Signe'ures on certified mail receipts
                                                                                   confirm r2ceipt of packar5e only, not contents.


                                                           42
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 47 of 60 Page ID #:57                    fir


                                                                                                   no-
                                                                                                    nr
                                                                                                   :nt
                                                                                                    nt
                                                                                                    t,.



      '„g), CT Corporation                                                 Ser ice of -rocess
                                                                           Trarsmitta"
                                                                           09/19'2016
                                                                           CT Log Number 57.':‘864990
         TO:
                Anheuser-Busch Companies, LLC.
                1 Busch Pl
                Saint Louis, MO 63118-1849


         RE:    Process Served in California

         FOR:   Anheuser-Busch Inbev Worldwide Inc. (Domestic State: DE)




         SIGNED:                         C T Corporation System
         ADDRESS:                        818 West Seventh Street
                                         Los Angeles, CA 90017
         TELEPHONE:                      213-337-4615




                                                                                   V




                                                                           Page 2 of 2 / RT
                                                                           Information displayed on         transmittal is for CT
                                                                           Corporation's record keepi.ig purposes only and Is provided to
                                                                           the recipient for quick re,--srence. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the 7 '5wer date, or any information
                                                                           contained in the documer.s themselves. Recipient is
                                                                           responsible for interpretir'.. said documents and for taking
                                                                           appropriate action. Signat ,es on certified mail receipts
                                                                           confirm rccelpt of packay. only, not contents.


                                                       43
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 48 of 60 Page ID #:58


         •
 9/112016 •                                           Business Search - Business Entities - Business Progry is

 IINtactruy of S harawr




          Secretary of State Main Website             Business Programs Notary & Authenticatie                   Eiectior a Campaign fit Lobbying


      Business Entitles (BE)             Business Entity Detail
     Online Services
      - E-File Statements of
        Information for                  Data Is updated to the California Business Search on Wednesday and Saturd- mornings. Results reflect
        Corporations               .     work
                                          .   processed through Tuesday, August 30, 2016. Please refer to Process:' j Times for the received
      -                                  dates of filings currently being processed. The data provided Is ;.at a complet,cr certified record of an
      - Processing Times
      - Disdosure Search                 entity.

     Main Page                              Entity Name:                         ANHEUSER-BUSCH, LLC
     Service Options
                                            Entity Plumber:                      201126910179
     Name Ay-zits:linty
                                            Date Flied:                          OS/26/2011
     Forma, Samples & Fees
     Statements Information                 Status:                              ACTIVE
     (annual/biennial reports)
                                            Jurisdictian:                        MISSOURI
              TIor
                                            Entity Address:                      ONE BUSCH PL
     InformstLen Requests
      (certificates, copies &               Entity City, State, Zip:             ST LOUIS MO 63118
       statar. reports;
    ..ServIce of Process                    Agent for Service of Process: CT CORPORATION SYSTE:u (C0168406:

     F.t"D4                                 Agent Address:
     Contact         ..tation               Agent City, State, Zip:
     Resources
      - Business Resources
      - Tax Information                  * Indicates the Information Is net contained in the Callfomia•Sod:retary of Ste'a's database.
      •• Starting A Business
                                         * Note: If the agent for service of process Is a corporation, the address of the 'gent may be requested
     Customer Alerts                     by ordering a status report.
      - Business Identity Theft
      - Misleading Business                • For Information on checking or reserving a name, refer to ^lame            tlity.
        Solidtations
                                           • For information on ordering certificates, copies of documer .s and/or stat ; reports or to request a
                                             more extensive search, refer to Information Rea rests.
                                           • For help with searching an entity name, refer to Search                   ay
                                           • For descriptions of the various fields and status types, refer wo Field De- :12tions and Status
                                             Definitions.

                                         ModifySearch New Search               Printer Friendly Back te.5eprqi




                                       . Privacy Statement I Free Document Readers
                                        Copyright (D 2016 California Secretary of State




                                                                                                                       •U:


                                                                                                          It
                                                                          44
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 49 of 60 Page ID #:59




9/1/2016                                               Business Search - Business Entitles - Business Pi•ngre
    marry of Stow banner




           Secretary of State Main Website             Business Programs Notary &Authentimitio. s Election.                       Campaign & Lobbying


     Business Entitles (BE)            Business Entity Detail
    Online Services
     - E-File Statements of
                                       Data Is updated to the California Business Search on Wednesday and Saturday mornings. Results reflect
       Information for
       Corporations                    work processed through TUesday, August 30, 2016.     Please refer to Processial Times for the received
                                                                                        .
     - Buil       aarch                dates of filings currently being processed. The data provided Is net a complete r certified record of an
     - Process`rig Times
     - Disclosure Search               entity.

    Main Page                                Entity Name;                        ANHEUSER-BUSCH INBEV WORLDWIDE iC.
    service Options
                                             Entity Number:                      C3468454
    name .ftv,.:1!nt.filte
                                             Date Filed:                         04/13/2012
    Forme, Samples & roes
    Stcleroert:i of Ioiorrnation             Status:                             ACTIVE
    (annuelfbionn)al reports)
                                             iu risolic on :                     DELAWARE
    Filing Tips
                                             Entity Address:                     ONE BUSCH PLACE
    Information Requests
     ;certificates, copies &                 Entity City, State, Zip:            ST. LOUIS MO 63118
      status reports)
    Semite at Process                        Agent for Service of Process: CT CORPORATION SYSTEf ns

    FAQa                                     Agent Address;                      818 WEST SEVENTH      sr             930
    Contact Information                      Agent City, State, Zip:             LOS ANGELES CA 90017
    Resources
     - Business Resources
     - Tax Information                 * Indicates the information is not contained in the California Se, etary of Sta: s datense,
     - Starting A Business
                                          • If the status of the corporation is "Surrender," the agent fcr service of v ess is auteweatically
    Customer Alerts                         revoked. Please refer‘to California Corporations Code sectio— 2114 for I: '.rrmatIon relating to
     - Business Identity Theft
     - misleading Bueiness                  service upon corporations that have surrendered.
       Solidtatlons                       • For information on checking or reserving a name, refer to i.s.:-Irne Avails:- Ity.
                                         • For Information on ordering certificates, copies of document:: and/or statir', reports or to request a
                                           more extensive search, refer to Information Requests.
                                         • For help with searching an entity name, refer to Search Tips.
                                         • For descriptions of the various fields and status types, refer ":o Field Desr- iptions and Status
                                              Definitions. •

                                       Modify Search New Search. Printer Friendly Iia.ck to !'earth Rosi..:Its



    4   r'




                                       Privacy Statement I Free Document Readers
                                       Copyright 19 2016 California Secretary of State




                                                                                                                rt.




                                                                                                            '.r

                                                                                                                            111




                                                                           45
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 50 of 60 Page ID #:60




                          EXHIBIT B
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 51 of 60 Page ID #:61




     1   Nicky Jatana (SBN 197682)
         Marie Rosolio (SBN 281068)                                       1:011FOrkTr, CV."(
     2 JACKSON LEWIS P.C.                                                    JIGINAL FILED
                                                                         :.ouperior Court of California
         725 South Figueroa Street, Suite 2500                              C•Unty of Los Angeles
     3 Los Angeles, California 90017-5408
        Tel: (213) 689-0404                                                     OCT 19 2016
     4 Fax: (213) 689-0430
         Emails:       jatanan@jacksonlewis.com
     5                 marie.rosolio@jacksonlewis.corn                Shorn Ft Carty, Executive Officer/Clerk
                                                                          By: Serieffa R6bh1111111.DOplity
     6   Attorneys for Defendants
         ANHEUSER-BUSCH INBEV
     7   WORLDWIDE, INC.,
         ANHEUSER-BUSCH, LLC, and
     8   ABANEITA ESOIMEME

     9                          SUPERIOR COURT FOR THE STATE OF CALIFORNIA

    10                                        COUNTY OF LOS ANGELES

    11

    12   CHRISTINA DEL RIO,                                     Case No. BC 633541 •

    13                          Plaintiff,                     [Assigned for all purposes to Hon. Daniel S.
                                                               Murphy, Department 32]
    14          vs.

    15   ANHEUSER-BUSCH 1NBEV WORLDWIDE,                        DEFENDANTS ANHEUSER-BUSCH INBEV
         INC., ANHEUSER-BUSCH, LLC;                             WORLDWIDE, INC.'S AND ANHEUSER-
    16   ANHEUSER-BUSCH COMPANY, ABANEITA                       BUSCH, LLC'S ANSWER TO PLAINTIFF'S
         ESOIMEME, and DOES 1 to 100, inclusive,                COMPLAINT FOR DAMAGES
    17
                                Defendants.
    18
                                                                Complaint Filed:             September 9, 2016
    19                                                          Trial Date:                  None

    20

    21          Defendants ANHEUSER-BUSCH INBEV WORLDWIDE, INC. and ANHEUSER-BUSCH,

    22   LLC ("Defendants") hereby answer the Complaint ("Complaint") filed by Plaintiff Kristina Del Rio,

    23   erroneously named herein as CHRISTINA DEL RIO ("Plaintiff'), as follows:

    24                                             GENERAL DENIAL

    25          Under the provisions of Section 431.30(d) of the Code of Civil Procedure, Defendants generally

    26   and specifically deny each and every allegation contained in the Complaint, and each cause of action of

    27   said Complaint, and deny that Plaintiff was injured or damaged as alleged, or at all.

    28   ///

                                                                                                    COPY
               DEFENDANTS ANHEUSER-BUSCH INBEV WORLDWIDE, INC.'S AND ANHEUSER-BUSCH, LLC'S
                                    ANSWER TO PLAINTIFF'S COMPLAINT


                                                        46
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 52 of 60 Page ID #:62




     1                                        AFFIRMATIVE DEFENSES

     2           Defendants further allege the following affirmative defenses to the purported causes of action in

     3   Plaintiffs Complaint under information and belief without conceding that it bears the burden of proof or

     4   persuasion as to any one of them, as follows:

     5                                      FIRST AFFIRMATIVE DEFENSE

     6                                           (Arbitration Agreement)

     7           1.      Plaintiff's entire action is barred because Plaintiff agreed, in writing, to arbitrate any

     8   dispute, claim or controversy arising out of her employment with Defendants, including the claims

     9   asserted in the action.

    10                                    SECOND AFFIRMATIVE DEFENSE

    11                                      (Collective Bargaining Agreement)

    12           2.      Any recovery on Plaintiff's Complaint, or any purported cause of action therein, is barred

   13    by Plaintiffs failure to timely pursue the grievance and arbitration procedures under the terms of the

   14    Collective Bargaining Agreement between Defendants and Plaintiffs union.

   15                                      THIRD AFFIRMATIVE DEFENSE

    16                                      (Collective Bargaining Agreement)

    17           3.      Any recovery on Plaintiffs Complaint, or any purported cause of action therein, is

    18   preempted under Section 301 of the Labor Management Relations Act, 29 U.S.C. Section 185(a) and the

    19   National Labor Relations Act, 29 U.S.C. Section 151, et seq.

   20                                     FOURTH AFFIRMATIVE DEFENSE

   21                                      (Failure to State a Cause of Action)

   22            4.      Plaintiffs Complaint as a whole, and each purported cause of action alleged therein, fails

   23    to state facts sufficient to constitute a cause of action against Defendants upon which relief may be

   24    granted.

   25                                      FIFTH AFFIRMATIVE DEFENSE

   26                                         (No Right to Attorney's Fees)

    27           5.      Plaintiff's Complaint, and each purported cause of action alleged therein, fails to state a

   28    cause or causes of action for attorneys' fees against Defendants.

                                                    2
                DEFENDANTS ANHEUSER-BUSCH INBEV WORLDWIDE, INC.'S AND ANHEUSER-BUSCH, LLC'S
                                     ANSWER TO PLAINTIFF'S COMPLAINT


                                                         47
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 53 of 60 Page ID #:63




                                          SIXTH AFFIRMATIVE DEFENSE

                                                 (Statute of Limitations)

               6.      Plaintiff's Complaint as a whole, and each purported cause of action alleged therein, is

        barred in whole or in part by the applicable statute of limitations, including but not limited to California

        Government Code sections 12940 and 12960, et seq. and California Code of Civil Procedure sections

       335.1, 338, and 340.

                                        SEVENTH AFFIRMATIVE DEFENSE

                                    (Laches, Estoppel, Waiver and Unclean Hands)

               7.      Plaintiff's Complaint, and each purported cause of action therein, is barred by the

       equitable doctrines of lathes, estoppel, waiver and unclean hands.

                                         EIGHTH AFFIRMATIVE DEFENSE

                                                          (Offset)

                8.     Defendants are entitled to offset for any monies received by Plaintiff from any source in

       compensation for any alleged economic damages and non-economic damages under the common law

        doctrine of offset and under the doctrine prohibiting double recovery set forth under Witt v. Jackson

       (1961) 57 Ca1.2d 57, and its progeny.

                                          NINTH AFFIRMATIVE DEFENSE

                                                     (Attorneys' Fees)

               9.      Defendants have engaged attorneys to represent it in defense of Plaintiff's frivolous,

       unfounded, and unreasonable action. Accordingly, Defendants are entitled to an award of reasonable

       attorneys' fees upon judgment in its favor.

                                          TENTH AFFIRMATIVE DEFENSE

                                                     (Undue Hardship)

               10.     Plaintiff's claims for disability discrimination and for failure to accommodate disability

       are barred because accommodation of Plaintiff's alleged disability would impose an undue hardship

       upon Defendants.

        ///



                                                   3
               DEFENDANTS ANHEUSER-BUSCH INBEV WORLDWIDE, INC.'S AND ANHEUSER-BUSCH, LLC'S
                                    ANSWER TO PLAINTIFF'S COMPLAINT


                                                        48
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 54 of 60 Page ID #:64




                                      ELEVENTH AFFIRMATIVE DEFENSE

                                           (Non-Discriminatory Conduct)

              11.     Any recovery on Plaintiff's Complaint is barred because all decisions and acts by

       Defendants which pertained to Plaintiff's employment were privileged and/or justified under California

       law and occurred in good faith based upon good cause and legitimate, non-discriminatory and non-

       retaliatory reasons.

                                       TWELFTH AFFIRMATIVE DEFENSE

            (Claims Barred By the Exclusive Remedy Provisions of the Workers' Compensation Act)

              12.     To the extent the Complaint alleges claims for emotional, psychological or physical

       injury, including without limitation emotional distress, the court lacks jurisdiction, and any recovery is

       barred by the exclusivity of remedy under the California Workers' Compensation Act, Labor Code

       Sections 3200, et seq.

                                     THIRTEENTH AFFIRMATIVE DEFENSE

                                         (After-Acquired Evidence Doctrine)

              13.     To the extent discovery discloses information which could serve as a basis for the

       termination of Plaintiff's employment, Plaintiff is barred from recovery by the after-acquired evidence

       doctrine.

                                    FOURTEENTH AFFIRMATIVE DEFENSE

              (Defendants Unaware of Notice of Discriminatory, Harassing or Retaliatory Conduct)

               14.    Defendants were unaware of notice from Plaintiff that any employee or managing agent

       of Defendants had allegedly engaged in any discriminatory, harassing and/or retaliatory acts against

       Plaintiff that violated any statute at any time before Plaintiff filed her charge with the Department of

       Fair Employment and Housing.

                                      FIFTEENTH AFFIRMATIVE DEFENSE

                                 (Failure To Avoid Harm/Avoidable Consequences)

               15.    Plaintiff failed to take advantage of the available and known preventative or corrective

       opportunities or to avoid harm otherwise. As such, Plaintiff is barred from recovering any damages

       under the avoidable consequences doctrine. Defendants took reasonable steps to prevent and correct

                                                  4
              DEFENDANTS ANHEUSER-BUSCH INBEV WORLDWIDE, INC.'S AND ANHEUSER-BUSCII, LLC'S
                                   ANSWER TO PLAINTIFF'S COMPLAINT


                                                      49
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 55 of 60 Page ID #:65




     1 alleged workplace discrimination and/or hostile work environment, Plaintiff unreasonably failed to

     2 utilize Defendants' preventive and corrective measures and reasonable use of Defendants' preventive

     3   and corrective measures would have prevented at least some of the harm Plaintiff allegedly suffered.

     4   State Dept. of Health Services v. Superior Court of Sacramento County (McGinnis) (2003) 31 Ca1.4th

     5   1026.

     6                                  SIXTEENTH AFFIRMATIVE DEFENSE

     7                                        (Failure To Mitigate Damages)

     8           16.    Plaintiff failed to reasonably mitigate her damages alleged in the Complaint.

     9   Accordingly, Plaintiff is barred from recovering any damages, or any recovery must be reduced, by

    10   virtue of Plaintiff's failure to exercise reasonable diligence to mitigate her alleged damages.

    11                                SEVENTEENTH AFFIRMATIVE DEFENSE

    12                                           (Valid Business Reasons)

    13           17.    Any recovery on Plaintiffs Complaint is barred because Defendants' conduct was

    14   privileged and/or justified under California law and undertaken for valid business reasons and consistent

    15   with business necessity.

    16                                 EIGHTEENTH AFFIRMATIVE DEFENSE

    17                       (Failure To Use Care And Comply With Employer's Directions)

    18           18.    Any recovery on Plaintiff's Complaint is barred by Labor Code sections 2854 and 2856

    19   because Plaintiff failed to use ordinary care and diligence in the performance of her duties and failed to

    20   comply substantially with the reasonable directions of her employer.

    21                                 NINETEENTH AFFIRMATIVE DEFENSE

    22                                        (Proper Exercise of Discretion)

    23           19.    Any and all conduct of which Plaintiff complains and which is attributed to Defendants

    24   was a just and proper exercise of Defendants' discretion and was undertaken for a fair and honest reason

    25   and regulated by good faith and probable cause under the circumstances existing at all times mentioned

    26   in the Complaint.

    27   ///

    28

                                                     5
                 DEFENDANTS ANHEUSER-BUSCH INBEV WORLDWIDE, INC.'S AND ANHEUSER-BUSCH, LLC'S
                                      ANSWER TO PLAINTIFF'S COMPLAINT


                                                         50
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 56 of 60 Page ID #:66




                                       TWENTIETH AFFIRMATIVE DEFENSE

                                   (Failure To Exhaust Administrative Remedies)

              20.     Any recovery on Plaintiff's Complaint is barred because Plaintiff failed to exhaust her

       administrative remedies.

                                   TWENTY-FIRST AFFIRMATIVE DEFENSE

                                     (Failure To Engage In Interactive Process)

              21.     Any recovery on Plaintiff's failure to engage in the interactive process cause of action is

       barred because, to the extent there was a breakdown of, or failure to engage in, the interactive process,

       Plaintiff's own conduct and/or omissions led to any such breakdown or failure.

                                   TWENTY-SECOND AFFIRMATIVE DEFENSE

              22.     Because Plaintiff's Complaint is couched in conclusory terms, Defendants cannot fully

       anticipate all defenses that may be applicable to this action. Accordingly, Defendants reserve their right

       to amend or assert additional affirmative defenses to the extent such defenses are applicable and may

       become known.

              WHEREFORE, Defendants pray as follows:

              1.      That Plaintiff takes nothing by her Complaint;

              2.      That the Complaint be dismissed in its entirety with prejudice;

              3.      That Plaintiff be denied each and every demand and prayer for relief contained in the

                      Complaint;

              4.      For cost of suits incurred herein, including reasonable attorneys' fees; and

              5.      For such other and further relief as the Court deems just and equitable.

        Dated:      October 19, 2016                       JACKSON I '.WIS P.C.


                                                    By:
                                                           Nicky Jatana
                                                           Marie Rosolio
                                                           Attorneys for Defendants
                                                           ANHEUSER-BUSCH INBEV
                                                           WORLDWIDE, INC., ANHEUSER-BUSCH, LLC,
                                                           and ABANEITA ESOIMEME



                                                  6
              DEFENDANTS ANHEUSER-BUSCH INBEV WORLDWIDE, INC.'S AND ANHEUSER-BUSCH, LLC'S
                                   ANSWER TO PLAINTIFF'S COMPLAINT


                                                      51
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 57 of 60 Page ID #:67




     1                                          PROOF OF SERVICE
     2          STATE OF CALIFORNIA, COUNTY OF LOS ANGELES — CENTRAL DISTRICT

     3   CASE NAME:            DEL RIO v. ANHEUSER-BUSCH INBEV WORLDWIDE, INC. et al.

     4   CASE NO.:             BC 633541

     5          I am employed in the County of LOS ANGELES, State of California. I am over the age of 18
         and not a party to the within action; my business address is 725 South Figueroa Street, Suite 2500, Los
     6   Angeles, California 90017.

     7          On October 19, 2016, I served the foregoing document described as: DEFENDANTS
         ANHEUSER-BUSCH INBEV WORLDWIDE, INC.'S AND ANHEUSER-BUSCH, LLC'S
     8   ANSWER TO PLAINTIFF'S COMPLAINT FOR DAMAGES in this action by transmitting a
         true copy thereof enclosed in a sealed envelope addressed as follows:
     9
          KEVIN C. BOYLE, ESQ.                                    ATTORNEYS FOR PLAINTIFF
    10    LAW OFFICES OF KEVIN C. BOYLE                           CHRISTINA DEL RIO
          5000 N. PARKWAY CALABASAS, SUITE 203
    11    CALABASAS, CA 91302

    12    TELEPHONE: (818) 591-1755
          FACSIMILE: (818) 591-1756
    13
                         VIA U.S. MAIL:
    14
                         As follows: I am "readily familiar" with the firm's practice of collection and
    15                   processing correspondence for mailing. Under that practice it would be
                         deposited with U.S. postal service on that same day with postage thereon fully
    16                   prepaid at Los Angeles, California.

    17                   I am aware that on motion of the party served, service is presumed invalid if
                         postal cancellation date or postage meter date is more than one day after date
    18                   of deposit for mailing in affidavit.
                M        STATE:
    19
                         I declare under penalty of perjury under the laws of th   ate of California that
    20                   the above is true and correct.
                Executed on October 19, 2016, at Los Angeles, C.ornAi
    21

    22
                                                                            t  ra
                                                                        IZABET . IA-r../APA
    23

    24

    25

    26

    27

    28

                                                   7
               DEFENDANTS ANHEUSER-BUSCH INBEV WORLDWIDE, INC.'S AND ANHEUSER-BUSCH, LLC'S
                                    ANSWER TO PLAINTIFF'S COMPLAINT


                                                       52
Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 58 of 60 Page ID #:68




                          EXHIBIT C
      Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 59 of 60 Page ID #:69
10/19/2016                                     Business Search - Business Entities - Business Programs




                                               Business Programs


     Business Entities (BE)       Business Entity Detail
     Online Services
      - E-File Statements of
                                  Data is updated to the California Business Search on Wednesday and Saturday mornings. Results
        Information for
        Corporations              reflect work processed through Tuesday, October 18, 2016. Please refer to Processing Times for the
      - Business Search           received dates of filings currently being processed. The data provided is not a complete or certified
      - Processing Times
      - Disclosure Search         record of an entity.

     Main Page                                                             ANHEUSER-BUSCH INBEV WORLDWIDE INC.
     Service Options
                                                                           C3468454
     Name Availability
                                                                           04/13/2012
     Forms, Samples & Fees
                                                                           ACTIVE
     Statements of Information
     (annual/biennial reports)
                                                                           DELAWARE
     Filing Tips
                                                                           ONE BUSCH PLACE
     Information Requests
      (certificates, copies &                                              ST. LOUIS MO 63118
       status reports)
     Service of Process                                                    CT CORPORATION SYSTEM

     FAQs                                                                  818 W 7TH ST STE 930
     Contact Information                                                    LOS ANGELES CA 90017
     Resources
      - Business Resources
      - Tax Information           * Indicates the information is not contained in the California Secretary of State's database.
      - Starting A Business
                                    • If the status of the corporation is "Surrender," the agent for service of process is automatically
     Customer Alerts                   revoked. Please refer to California Corporations Code section 2114 for information relating to
      - Business Identity Theft
                                       service upon corporations that have surrendered.
      - Misleading Business
        Solicitations               • For information on checking or reserving a name, refer to Name Availability.
                                    • For information on ordering certificates, copies of documents and/or status reports or to request a
                                       more extensive search, refer to Information Requests.
                                    • For help with searching an entity name, refer to Search Tips.
                                    • For descriptions of the various fields and status types, refer to Field Descriptions and Status
                                       Definitions.

                                  Modify Search New Search Printer Friendly Back to Search Results




                                  Privacy Statement I Free Document Readers
                                  Copyright A 2016   California Secretary of State




                                                                      53
http://kepler.sos.ca.gov/                                                                                                                   1/1
      Case 2:16-cv-07786-JFW-KS Document 1-1 Filed 10/19/16 Page 60 of 60 Page ID #:70
10/19/2016                                      Business Search - Business Entities - Business Programs




                                               Business Programs


     Business Entities (BE)       Business Entity Detail
     Online Services
      - E-File Statements of
                                  Data is updated to the California Business Search on Wednesday and Saturday mornings. Results
        Information for
        Corporations              reflect work processed through Tuesday, October 18, 2016. Please refer to Processing Times for the
      - Business Search           received dates of filings currently being processed. The data provided is not a complete or certified
      - Processing Times
      - Disclosure Search         record of an entity.

     Main Page                                                            ANHEUSER-BUSCH, LLC
     Service Options
                                                                          201126910179
     Name Availability
                                                                          09/26/2011
     Forms, Samples & Fees
                                                                          ACTIVE
     Statements of Information
     (annual/biennial reports)
                                                                          MISSOURI
     Filing Tips
                                                                          ONE BUSCH PL
     Information Requests
      (certificates, copies &                                             ST LOUIS MO 63118
       status reports)
     Service of Process                                           cess. C T CORPORATION SYSTEM (C0168406)

     FAQs                                                                 *

     Contact Information                                                  *
     Resources
      - Business Resources
      - Tax Information           * Indicates the information is not contained in the California Secretary of State's database.
      - Starting A Business
                                  * Note: If the agent for service of process is a corporation, the address of the agent may be requested
     Customer Alerts              by ordering a status report.
      - Business Identity Theft
      - Misleading Business         • For information on checking or reserving a name, refer to Name Availability.
        Solicitations
                                    • For information on ordering certificates, copies of documents and/or status reports or to request a
                                       more extensive search, refer to Information Requests.
                                    • For help with searching an entity name, refer to Search Tips.
                                    • For descriptions of the various fields and status types, refer to Field Descriptions and Status
                                       Definitions.

                                  Modify Search New Search Printer Friendly Back to Search Results




                                  Privacy Statement I Free Document Readers
                                  Copyright © 2016 California Secretary of State




                                                                     54
http://kepler.sos.ca.gov/                                                                                                                   1/1
